Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 1 of 100   1




      1                       UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
      2                             MIAMI DIVISION
                               CASE NO. 18-cv-60788-JEM
      3

      4     SPRINT COMMUNICATIONS, INC.,
                                   INC.,

      5           Plaintiff/Counterclaim Defendant,

      6           vs.

      7                                                     Miami, Florida
                                                            April 18, 2022
      8     STEPHEN CALABRESE, as an individual,            Pages 1-100
            NEXTEL, INC.,
                    INC., d/b/a NEXTEL WORLDWIDE,           12:07 p.m. - 2:35 p.m.
      9     RETROBRANDS USA LLC,                            and
            JEFFREY KAPLAN, as an individual, and           4:18 p.m. - 4:58 p.m.
    10      NEXTEL WORLDWIDE MOBILE, INC.,
                                     INC.,

    11           Defendants/Counterclaimants.
            _______________________________________________________________
    12
                                  TRANSCRIPT OF JURY TRIAL
    13                                     VOLUME 8
                            BEFORE THE HONORABLE JOSE E. MARTINEZ
    14                          UNITED STATES DISTRICT JUDGE

    15      APPEARANCES:

    16      FOR THE PLAINTIFF/COUNTERCLAIM DEFENDANT:
                                   McGuireWoods, LLP
    17                             BY: BRIAN C. RIOPELLE, ESQ.
                                   BY: LUCY J. WHEATLEY, ESQ.
    18                             BY: AMANDA L. DeFORD, ESQ.
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    20      FOR THE DEFENDANTS/COUNTERCLAIMANTS:
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                                   Lee & Amtzis, PL
    24                             BY: WAYNE SCHWARTZ, ESQ.
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Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 2 of 100   2




      1     REPORTED BY:        DAWN M. SAVINO, R.P.R., C.R.R.
                                Official Federal Court Stenographer
      2                         400 N. Miami Avenue, 10S03
                                Miami, Florida 33128
      3                         Telephone: 305-523-5598
            ______________________________________________________________
      4

      5               (Court called to order).

      6               THE COURT:    Be seated, please.     All right.    I sent out

      7     what my proposed final instructions will be and verdict form.

      8     And I -- does anyone -- did you want to put some objections on

      9     the record?

    10                MR. SCHWARTZ:    Yes, Your Honor.     On behalf of the

    11      defense, the easy one on Page 8, the very last question, we

    12      simply wanted to remove the number to the trademark and so it

    13      should just say "abandoned the Nextel trademark."         And the basis

    14      -- that covers the registration of that particular mark and any

    15      common law issues related to that mark.        So having the number

    16      there is confusing.

    17                THE COURT:    I think it's restrictive, but I don't think

    18      it's confusing.    Go ahead.

    19                MR. RIOPELLE:    No, and I think the jury instructions

    20      are done based on what rights come with the registration, the

    21      evidence that's gone in about the registration including the

    22      number, it differentiates it from the other number they've heard

    23      during the trial and there was no objection to this during the

    24      jury charge conference, so we think it should still have the

    25      number.



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                             TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 3 of 100   3




      1                 THE COURT:   I'll overrule your objection.

      2                 What else you got?

      3                 MR. SCHWARTZ:   Final objection, Your Honor.      It was

      4     raised at the charging conference.         We just feel like the last

      5     question is out of order, and it's confusing in terms of not

      6     having a direction and that it should probably come first and

      7     then if they answer yes or no, it can direct them to the balance

      8     of the --

      9                 THE COURT:   It's your job.     Your brilliant lawyers are

    10      supposed to unconfuse them.

    11                  MR. SCHWARTZ:   I'm just addressing it for the record.

    12                  THE COURT:   All right.   Your objection is noted.

    13                  MR. SCHWARTZ:   Thank you, Your Honor.

    14                  THE COURT:   All right.   Can we bring the jury in then?

    15                  How much are you going to want for your opening

    16      closing, Plaintiff?

    17                  MR. RIOPELLE:   I thought -- I think the other day you

    18      told you 45 minutes.

    19                  THE COURT:   Total.   But I want to know how much you

    20      want to use in the beginning so you can have a little warning.

    21                  MR. RIOPELLE:   I will be --

    22                  THE COURT:   You just set it up because like I said, I'm

    23      not going to stop you when that time is up until your 45 is up

    24      and then you don't have any rebuttal.

    25                  MR. RIOPELLE:   Why don't you do it for 35 minutes, I



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Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 4 of 100   4




      1     confess I've not timed it.

      2               THE COURT:    35 it is.    And yours will be set for 45.

      3               MR. SCHWARTZ:     Thank you, Your Honor.

      4               One other housekeeping question.        Are we permitted to

      5     show on the ELMO a section of the -- not the verdict form, the

      6     jury instruction, for instance?

      7               THE COURT:    Yes, you're allowed to show them the jury

      8     instructions.

      9               MR. SCHWARTZ:     Thank you.

    10                THE COURT:    All right.    Are we ready?    All the jurors

    11      showed up, so let's get them in here.

    12                COURT SECURITY OFFICER:        All rise for the jury.

    13                (Jury in at 12:10 p.m.)

    14                THE COURT:    Be seated, please.

    15                Welcome back, ladies and gentlemen of the jury.         It's a

    16      pleasure to have you here.

    17                In case you might not notice, Jose has gotten taller

    18      and thinner and much better looking because I know misery loves

    19      company, so I'm sure you'll be happy to hear Jose got jury duty

    20      today.   And he is over in the state court system and they

    21      actually called him.      I used to go over all the time to the

    22      state.   I'm not eligible for federal court jury duty, but I'd go

    23      over to the state all the time, and I'd never get called.          And

    24      finally like the fourth or fifth time that I got over there, I'd

    25      see a big hullabaloo at the front, and the guy that usually runs



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                             TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 5 of 100   5




      1     the jury panel over there is Ed Newman, and I don't know if you

      2     older folks would remember Ed Newman was an offensive lineman

      3     for the Miami Dolphins.      Very nice man, very smart.     Graduated

      4     Duke undergraduate school and the University of Miami Law

      5     School, and he's a very bright guy, and a good judge, and he

      6     could come in and we would shoot the breeze a little bit while

      7     we were waiting.     But this time it was the chief judge came in.

      8     And I know her very well also, Berti Soto.        And she said what

      9     are you doing here?     And I said well, I think it's my duty and I

    10      don't want to shirk it.      And she said you're not eligible to sit

    11      on this, and she showed me a Florida Statute that exempts

    12      federal judges from state court jury duty.        And I said well, why

    13      didn't somebody tell me?      I've been over here five years in a

    14      row, nobody ever told me.      They just never selected me.      And so

    15      I would end up sitting there watching a -- you know, some old

    16      movie on the video screen that they have in the jury room.          And

    17      I finally found out that I wasn't eligible.        But Jose is

    18      eligible, and he's over there and he actually apparently got

    19      called for a trial so it's good for him, good experience for

    20      him.

    21                Anyway, as we told you at the beginning, what the

    22      lawyers say to you isn't evidence.       The only evidence is from

    23      the jury -- from the witness box, or from the exhibits, or from

    24      stipulations of the parties, or other evidence that is brought

    25      in one way or another.     But the bottom line is that it's very



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                             TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 6 of 100   6




      1     important for you to listen to them so that they can try to tell

      2     you what they believe the evidence has been.

      3                After they're finished, I will read you the

      4     instructions.    You will then go back, and I'll give you a copy

      5     of the instructions, a copy of the verdict form, we'll start

      6     gathering the evidence to bring it in to you.         You don't have to

      7     wait for the evidence, you don't have to actually have it in

      8     front of you, you've seen it all.       The bottom line is that you

      9     will then go in and start voting.       You'll select a foreperson,

    10      then you'll start talking about it.

    11                 It's very important that all of you participate.        Some

    12      of you might have better notes than others, some of you might

    13      have no notes, it doesn't matter.       What some person might say

    14      might just flash your memory in your mind.        It's very important.

    15      Just because this case took a few days doesn't mean that you

    16      need to take a few hours.

    17                 We're going to break this afternoon a little bit before

    18      5 again.   If you're not finished, then we'll come back tomorrow

    19      and we'll continue the deliberations until you reach a verdict.

    20                 But   I want you to please pay close attention to the

    21      lawyers as I recognize them in turn for them to give you their

    22      closing statements.

    23                 You may proceed, sir.

    24                 MR. RIOPELLE:   Thank you, Your Honor.

    25                 Can we put the slide up please?



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                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 7 of 100   7




      1                Good morning.   I hope everyone had a good Easter and

      2     good holiday weekend.

      3                When I first had an opportunity to speak to you last

      4     Monday, I raised a question.      I said why are we here.      But now

      5     that you've seen all the evidence, I'd like to pose a different

      6     question to you.     What's really going on here?      You know, if you

      7     listened to the Defendants last Monday, what they said is this

      8     is about the big guys squashing the little guy, about David

      9     versus Goliath, that these are two guys just minding their own

    10      business and trying to make a living, that Sprint is trying to

    11      stand in their way, stifle competition and squash the little

    12      guy.   That we're just suing them for the sake of suing them.

    13      Sprint didn't want to do this.       Sprint has to protect its

    14      trademarks, but it certainly didn't want to spend all the time

    15      and the money to go through this trial.        In fact, as you saw,

    16      Sprint tried to get this taken care of long before there was any

    17      lawsuit.

    18                 And Sprint thought it had been taken care of.        When

    19      Sprint showed Mr. Calabrese in October of 2017 that Sprint was

    20      using the Nextel mark and was using the Nextel mark to sell

    21      goods and services, Mr. Calabrese's lawyer told us that

    22      Mr. Calabrese had stopped.      And you've seen this.     This is the

    23      October 2017 e-mail saying that they've stopped, ceased all

    24      offers for sale of telecommunication services and equipment

    25      using the Nextel mark.     And then three months later, in February



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 8 of 100   8




      1     of 2018, Mr. Calabrese's lawyer sends us another e-mail and says

      2     my client has stopped using the mark.        This should allow you to

      3     close your file on this matter.       But of course, as you know now,

      4     Sprint couldn't close its file because despite what

      5     Mr. Calabrese was saying, and despite what Mr. Kaplan knew

      6     Mr. Calabrese was saying, the Defendants weren't stopping use of

      7     the Nextel mark.

      8                 This case is not about Sprint trying to make money off

      9     the Defendants.     This case is about the Defendants trying to

    10      make money off of Sprint and the Nextel trademark.         That's

    11      what's going on here.     In fact, every part of the Defendants'

    12      case is built, and I hate to say it, but built on lies and

    13      theft.     And to remind you, when you consider Mr. Calabrese's

    14      testimony, you may take into account the fact that he is a

    15      convicted felon.

    16                  As I just showed you, Defendants told Sprint that they

    17      had stopped using the Nextel trademark and that Sprint could

    18      close its file on the matter.      They told Sprint that on February

    19      8, 2018.     But they knew that Mr. Kaplan, just one week before on

    20      January 30, 2018, had filed a trademark application for the

    21      Nextel mark.     And they knew that just one day after that,

    22      Mr. Calabrese and Mr. Kaplan had signed an agreement to try to

    23      use the Nextel mark.     And they knew, just two days before that,

    24      on February 6, 2018, Mr. Kaplan had issued a press release

    25      saying that we're bringing back the Nextel brand.         But then they



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                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 9 of 100   9




      1     told us on February 18th, oh no, we're not using this.          You can

      2     close your file.

      3                 But it goes beyond this.     For example, Mr. Calabrese

      4     names his phones after the old Motorola phones like the i305.

      5     He does this because Nextel and Sprint used to sell the old

      6     Motorola phones that were named after being used on the iDEN

      7     network.     Mr. Calabrese wants people to think that he's selling

      8     later versions of these same phones.

      9                 Mr. Kaplan filed trademark applications and he filed

    10      those under penalty of perjury, but he knew that Sprint owned

    11      the trademarks.     He knew Sprint had asked Mr. Calabrese to stop.

    12      He knew Mr. Calabrese's lawyer had told Sprint to close its

    13      file, yet he swore under penalty of perjury that the following

    14      was true:     He swore that to the best of his knowledge and

    15      belief, no other persons have the right to use the mark in

    16      commerce, either in identical form or in such near resemblance

    17      as to be likely, when used or in connection with the goods or

    18      services of such other persons.        He signed that.   He said that

    19      nobody else had the right to it when he knew that Sprint owned

    20      the trademarks and Sprint had the right to it.

    21                  And furthermore, he signed that when he admitted, on

    22      the stand here, that when he filed the application for the

    23      chirp, he copied Sprint's registration right into his

    24      application form, and yet he said that nobody else had the right

    25      to use it.



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                               TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 10 of 100 10




      1                 And he did this -- and then there's even the

      2      misrepresentations on their website.       He puts this on their

      3      website saying that this is their coverage area.         This is their

      4      coverage map, but this coverage map is not the Defendants'

      5      coverage map and he admitted on the stand that he just copied

      6      that coverage map off the internet.

      7                 He puts this building on his website.      He's trying to

      8      make people believe that this is Defendants' building but again,

      9      he admitted on the stand, under oath here, that this building

     10      was not associated with any of the Defendants.        He just copied

     11      that image on the internet.

     12                 He even goes so far that he puts up our ads, my

     13      client's ads on his website trying to make people think that

     14      he's the original Nextel.

     15                 They made a video, which we showed you, and I think

     16      it's Exhibit 108, saying that they have a nationwide network,

     17      but they don't have a nationwide network.        In fact, you heard

     18      Mr. Calabrese say, when we played you the video of his

     19      deposition, he just buys SIM cards from the Walmart.

     20                 But it doesn't even stop there.      Mr. Kaplan has now put

     21      up a page where he's trying to get people to invest in his

     22      company.   But many of those things he's telling those potential

     23      investors, people whose money he wants, many of those people

     24      he's telling -- many of those things he's saying just aren't

     25      true.   So here's an example.     Off of this Start Engine page



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                               TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 11 of 100 11




      1      where he's trying to raise money, he says as a Mobile Virtual

      2      Network Operator, MVNO, Nextel obtains bulk access to network

      3      services at wholesale rates.      Now, you heard about MVNO.      What

      4      that is is when somebody has a contract with one of the big

      5      carriers whether it's Sprint or T-Mobile or Verizon or AT&T, and

      6      they buy time on there and they get better service because of

      7      that.   Some of the best-known MVNOs in this country are people

      8      like Cricket and Infiniti, Xfinity uses it, but they're not MVNO

      9      and he admitted that on the stand, it's just not true.

     10                 He also says on this website where he's trying to raise

     11      money, Nextel Mobile Worldwide, Inc. is a holding company that

     12      owns the intellectual property rights to the Nextel and the

     13      Nextel chirp trademarks.     But he admitted on the stand that

     14      that's not true.     He knows Sprint owns those, and those two

     15      numbers up there, both that start with eight, those aren't even

     16      trademark numbers.     They are the trademark application numbers

     17      that the United States Patent and Trademark Office rejected, and

     18      he admitted that that's not true.

     19                 What does is he not telling people.      Well, he's trying

     20      to raise money from people; but he's not telling them that he

     21      doesn't own the trademarks; he's not telling them that Sprint

     22      owns the trademarks; he's not telling them that Sprint

     23      challenges Nextel Mobile Worldwide's right to use the Nextel and

     24      the chirp sound marks, and he doesn't even tell them about this

     25      lawsuit.   If you're trying to raise money from people, wouldn't



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                               TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 12 of 100 12




      1      you tell them there's a chance that it's going to be shut down

      2      and you're not going to have anything, and they're going to be

      3      investing in nothing?     He doesn't tell them that.

      4                 And even when they were trying to put on the evidence

      5      in this case, they were trying to mislead you.        They tried to

      6      show you that Sprint somehow abandoned the Nextel trademarks

      7      because it stopped listing the Nextel trademark in their

      8      Sprint's annual 10-K financial reports.       But these aren't

      9      reports for a company that lists all of its trademarks.          These

     10      financial filings are, not surprisingly, focused on financial

     11      matters.   And if you want to know what trademarks a company

     12      owns, you go to the United States Patent and Trademark Office

     13      website and you do a search on it.       And if you do that search,

     14      you'll see that Sprint owns lots of trademarks, including these

     15      two trademarks that are at issue in this case.        And you heard

     16      Mr. Kaplan say that he did that search, and that he saw that

     17      there were live trademarks that were owned by Sprint and despite

     18      seeing that, he decided to proceed and try to use and steal the

     19      trademarks.

     20                 They also tried to make a big deal about Sprint

     21      allowing other marks to be cancelled, but as you heard

     22      Mr. Shaughnessy say, trademarks are cancelled all the time when

     23      the marketing plans change.      And any of these other marks that

     24      were cancelled, they're irrelevant.       I mean, it's just a red

     25      herring.   The only marks that matter are the two at issue in



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 13 of 100 13




      1      this trial, the two that are live and valid and still owned by

      2      Sprint.

      3                Another way they tried to mislead you was by claiming

      4      that by shutting down the iDEN network in 2013 somehow meant the

      5      end of the Nextel brand.     But as Mr. Kohman said when he

      6      testified, there is a difference between a network and a brand.

      7      This is Mr. Kohman's testimony.      When Sprint turned off the iDEN

      8      Mr. Kohman, did it stop using Nextel?       No, they did not.     Why

      9      not?   The Nextel name is a brand, it's not a network.        We shut

     10      down the iDEN network, but we were going to continue to use

     11      Nextel.   A brand runs on a network.      Here, the Nextel brand was

     12      used on the iDEN network and then when they shut down the iDEN

     13      network in 2013, it continued to be used on Sprint's CDMA

     14      network and is now used on Sprint's later generation networks.

     15                And why are they doing all these things?        Why are they

     16      using Sprint's Nextel and chirp trademarks?        Because they're

     17      trying to make a lot of money using Sprint's property.          They are

     18      trying to make a lot of money stealing the Nextel trademark.

     19      And that's not me saying that, they said it in the agreement

     20      they signed.    You can see here they talk about the famous and

     21      iconic trademark Nextel, and they go on to say our goal which is

     22      to sell the company for tens of millions of dollars or possibly

     23      hundreds of millions of dollars within the next five years.

     24      That's what they're trying to do.       They're trying to steal it

     25      and make money off it.



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 14 of 100 14




      1                So let's talk about the claims that Sprint is actually

      2      asserting here, because that's what you're going to have to

      3      decide when you go back into the jury room.        The first one I

      4      want to talk about is infringement.       Now, there's no issue that

      5      they are using the Nextel mark.      I mean, they're not even trying

      6      to hide it.   They're intentionally using it.       But again, here's

      7      another place where they're trying to mislead you.         This

      8      trademark is for the word Nextel and because it's for the word,

      9      it prevents anyone else from using that word Nextel from trying

     10      to sell goods and services.      So it doesn't matter what font the

     11      word is in, it doesn't matter what color the word is in, it

     12      doesn't matter if Nextel is capitalized or all small letters,

     13      it's using the word Nextel that is the infringement.         But the

     14      Defendants have tried to argue that their banners in black and

     15      yellow don't infringe because Sprint allegedly abandoned the

     16      black and yellow design years ago.       But even if that's true, it

     17      just doesn't matter.     All that matters is that they're using

     18      Nextel, and using Nextel to sell goods and services, because

     19      using the word is what infringes.

     20                There's also no question that they're using the chirp

     21      mark.   They tried to say no, we don't use the chirp mark, but

     22      Mr. Kaplan admitted on the stand they're using it.         Now, you

     23      agree that even though this was rejected, you and the Defendants

     24      were using the Nextel chirp, right?       We're using -- yes, we're

     25      using the Nextel chirp.     That was Mr. Kaplan.



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 15 of 100 15




      1                So then after he admitted this on the stand, they tried

      2      to change it a little bit and say well, the Nextel chirp is not

      3      that distinctive.    And, you know, we may not be using exactly

      4      that.   Well, Mr. Kaplan admitted contrary to that also.         You

      5      agree, right, that the Nextel chirp is a distinct sound.          Yes.

      6      And that sound is associated with Nextel.        Yes.

      7                But on top of that, we showed you other evidence of

      8      them using the chirp.     We showed you that Mr. Kaplan's Nextel Is

      9      Back video, and I think it's Exhibit 113, I'm not going to play

     10      the video for you but if you want to you can see it later, that

     11      use the chirp sound.     And we also showed you the video of one of

     12      Mr. Calabrese's dealers who was talking about the products that

     13      Mr. Calabrese and Nextel, Inc. are selling.        If you remember,

     14      that dealer played the chirp on his phone on the video.

     15                Now, you're going to hear in the jury instructions when

     16      the judge reads you the jury instructions, that the test, the

     17      standard for infringement is called likelihood of confusion.

     18      Well, in this point, in addition to all the evidence you've

     19      seen, there's two things you can focus on when you think about

     20      likelihood of confusion.     The first one is, as you saw, when the

     21      United States Patent and Trademark Office rejected Mr. Kaplan's

     22      and Mr. Calabrese's applications, they rejected them because the

     23      experts at the trademark office found they would cause a

     24      likelihood of confusion.     The other thing you can focus on is

     25      there's even something, a type of proof that's stronger than the



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                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 16 of 100 16




      1      likelihood of confusion, it's called actual confusion.         And the

      2      Judge will read to you and instruct you on actual confusion when

      3      you hear the jury instructions.

      4                And you heard in this case from Mr. Kohman, from Mr.

      5      Wiley, from Mr. Mancuso and from Mr. Shaughnessy about how

      6      people were confused when they went to the IWCE trade show in

      7      2017 and saw the Defendants' booth.       And in fact, if you were

      8      listening hard, when they read Mr. Calabrese's deposition, you

      9      heard actual confusion there because Mr. Calabrese said that

     10      people came up to him and asked him was he associated with

     11      Sprint, what was going on here.      So on infringement, there's

     12      really no question that they're infringing here.

     13                The next thing we're going to ask you, you're going to

     14      have to make a decision on is what's called counterfeiting.

     15      Now, counterfeiting means that the Defendants' use of the Nextel

     16      trademark and the sound mark are copies, and the law says that

     17      copies have to be identical or substantially indistinguishable

     18      from Sprint's trademarks.     And, you know, the classic example of

     19      this is when you're walking down the street and somebody tries

     20      to sell you a Rolex watch or a Gucci bag.        Well, it says Rolex

     21      or Gucci on it, and it kind of looks like a product that Rolex

     22      or Gucci may sell, but in fact it's not.        That's what

     23      counterfeiting is.    And there's really no question in this case

     24      the Defendants are counterfeiting the Nextel trademark.          They're

     25      not using a word that sounds like Nextel, they're using Nextel



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 17 of 100 17




      1      and they're putting Nextel on devices to make it look like it

      2      came from us.     That's counterfeiting.

      3                The same is true for the Nextel chirp.        They're using a

      4      chirp, or a sound, that is substantially indistinguishable from

      5      the Nextel chirp.     Now, they seemed to suggest that you couldn't

      6      tell the difference unless you were an audiologist, an expert in

      7      sound.   But that's not the standard.      The question is how

      8      ordinary consumers like you and me would hear, and it is

      9      actually the Nextel chirp.      But even if it is not the Nextel

     10      chirp, it is indistinguishable.      So they're using and

     11      counterfeiting the Nextel chirp also.

     12                The third thing you're going to have to address is

     13      something that's called dilution.       Now, that's where the

     14      Defendants are diluting the value of the Nextel and chirp

     15      trademarks.     So as the Judge is going to tell you when he reads

     16      the instructions, we had to show that the Nextel mark is famous

     17      and distinctive, and the Defendants' use is likely to cause

     18      blurring or tarnishing of that mark, of that famous trademark.

     19      And you can see from the slide that's still on the screen that

     20      Defendants admitted the Nextel chirp sound is distinct, and they

     21      also admitted that the Nextel mark is famous.        In fact, the

     22      Nextel trademark, there was a pronoun there first, was famous

     23      and iconic because my clients, Nextel and Sprint, had made it

     24      famous and iconic, right?     And Mr. Kaplan said correct.       In

     25      fact, because it's famous and because it's distinct and because



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 18 of 100 18




      1      it's iconic, that's why they're trying to steal it.         That's why

      2      they're using it.

      3                 We also showed you why it's likely to tarnish the

      4      Nextel brand.    And I'll talk a little bit more about quality in

      5      a minute, but the fact that the Defendants -- the fact is the

      6      Defendants are selling inferior products and inferior service,

      7      and they're selling it to people like first responders who need

      8      a reliable product.

      9                 Now, the last claim you'll need to make a decision on

     10      is called cybersquatting.     Cybersquatting is just using our

     11      trademark in their website domain names.        Well, there's no

     12      question that they're using Nextel in their website domain names

     13      and I'll show you those domain names in a minute.

     14                 And so what's the danger of the confusion that results

     15      from infringement and counterfeiting and unfair competition and

     16      dilution and cybersquatting.      The danger is that consumers will

     17      buy a product or service but not get what they think they're

     18      getting.   And in this case, a lot of those consumers are first

     19      responders, people who respond to emergencies.        And why did you

     20      hear so much about the IWCE trade show?       It's because that trade

     21      show is geared towards people like first responders and others

     22      who are looking for and need reliable communications.

     23                 And you heard Mr. Kohman and Mr. Shaughnessy explain

     24      why the Nextel push-to-talk service is more reliable.         It's

     25      because it's integrated into the network, and because Sprint



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 19 of 100 19




      1      owns that network and it's integrated into the network, Sprint

      2      can prioritize the communications of first responders and others

      3      when it's necessary.     And you heard Mr. Calabrese, he just buys

      4      SIM cards from the Walmart.      And you heard when I asked Mr.

      5      Kaplan, he admitted that they can't prioritize the

      6      communications with the services they're trying to sell.

      7                  I don't know if you remember this, but last Monday I

      8      used an analogy about an incident at a University of Miami

      9      football game.    And the reason I used that analogy was because I

     10      wanted to explain how Sprint could prioritize the communications

     11      so the first responders could then deal with that incident.

     12      Well, what if those first responders at the University of Miami

     13      football game bought the infringing and counterfeited products

     14      from the Defendants instead, but thought they bought real Nextel

     15      products.    They might not find out until the incident because

     16      the service could not be prioritized above the other 90,000 fans

     17      that are at that game.     The first responders' communications

     18      would be jammed just like those 90,000 fans.        It wouldn't work

     19      and they wouldn't be able to deal with the incident, and that's

     20      what Sprint is trying to prevent.       That's what's going on here.

     21                  Now, I need a drink of water.

     22                  Now, as you know, the Defendants' argument for why they

     23      think they get to use Nextel is because they claim Sprint

     24      somehow abandoned the Nextel trademark.       Now, a couple notes on

     25      this.   This theory only goes to the Nextel mark.        There's no



                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 20 of 100 20




      1      claim that the chirp has been abandoned, so you don't even have

      2      to decide whether the chirp's been abandoned.        And there's also

      3      no claim anymore that Sprint somehow defrauded the US Trademark

      4      Office.

      5                  So here's what they have to show for abandonment.       They

      6      have to show that Sprint discontinued the bonafide use of

      7      Sprint's trademark and Sprint did so with the intent not to

      8      resume its use in the reasonably foreseeable future.         And listen

      9      when the Judge reads you the instructions, because he's going to

     10      explain that the presumption of abandonment is three consecutive

     11      years of nonuse.    So based on that standard, what evidence would

     12      you have expected from Defendants to show abandonment?         Well,

     13      you would have expected abandonment for at least a three-year

     14      consecutive period, and you would have expected evidence that

     15      Sprint had no intention of ever continuing to use the Nextel

     16      trademark.    But you didn't see that.     And as I said in my

     17      opening statement a week ago, the reality is exactly the

     18      opposite.

     19                  And before I show you the use, let's talk about what

     20      constitutes use.    This is actually the trademark statute and

     21      this is where it says use, and you can see it says a mark shall

     22      be deemed to be in use in commerce on goods when it's placed in

     23      any manner on their containers or on the tags or labels affixed

     24      thereto, on documents associated with the goods, and on services

     25      when it is used or displayed in the sale or advertising of



                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 21 of 100 21




      1      services.     This is how Sprint's using the trademark.      It's

      2      placed on any manner, they're putting it on the containers, you

      3      saw it on the boxes; it's on tags or labels affixed to the

      4      boxes, you saw that, it's on the tags and on the labels they're

      5      putting on them; on documents associated with the goods, that's

      6      in the manuals that came in some of those with those phones,

      7      Nextel was on those; and on services when it's used or displayed

      8      in the sale or advertising, that's on those PowerPoint

      9      presentations that they're making to business customers, they

     10      had Nextel on there.     So that's how Sprint's using it.      And you

     11      may remember when I got into a little disagreement with Mr.

     12      Kaplan last Thursday where he said no, the statute says

     13      prominent, has to be prominent use.       And I said well, we'll see,

     14      won't we?     Well, there's the statute and it says it is placed in

     15      any manner.     It does not say prominent and there's no prominent

     16      in there at all, and that's not what's required.

     17                  So what did you see?   Well, you saw boxes from as early

     18      as 2012 using the Nextel trademark, and you heard

     19      Mr. Shaughnessy testify that Sprint sold those products from

     20      2012 to 2019, and if you were listening carefully when they read

     21      Ms. Jobe's testimony, you heard her say the same thing, that

     22      Sprint sold these products from 2012 up through 2019.         And the

     23      reason they said 2019 at that point is because that's when their

     24      depositions were taken.     And you saw Mr. Wiley up there

     25      demonstrate current products that Sprint has been selling in



                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 22 of 100 22




      1      2021 and is selling right now.      You saw marketing PowerPoints

      2      that were used directly with businesses to sell the Nextel push

      3      devices and services.     You saw the PowerPoint that ran on a

      4      continuous loop at the 2017 IWCE trade show.         You saw the banner

      5      that was used at the 2018 IWCE trade show.         You saw the placards

      6      that were used at the 2019 IWCE trade show.         And all you saw

      7      evidence that Sprint has been continuously using the Nextel

      8      trademark since not only 2013, but, in fact, all the way back to

      9      1993 when they first got the Nextel trademark.

     10                 So what about the second prong?       What about intent to

     11      keep using?   Well, Mr. Kohman testified about this.        Here's what

     12      he said.   And were you personally involved in any discussions

     13      with Sprint about what it would do with the Nextel brand after

     14      the iDEN network shutdown?      Yes, I was.     What decisions were

     15      reached?   We recommended that the name and decided that the name

     16      was going to be used and assigned to specifically push-to-talk

     17      devices, specifically an intrinsically safe device.         And he went

     18      on.   At any point in the planning meetings was there any

     19      discussion or consideration by Sprint of stopping use of Nextel

     20      altogether?   No, there was not.     Why not?     Because the brand had

     21      value and they were still using it.

     22                 You also heard Mr. Shaughnessy testify the other day,

     23      explain how T-Mobile, right now, is considering the best use of

     24      the Nextel mark going forward.      The fact is the Nextel trademark

     25      has not been abandoned.     It's been used since 1993.      And Sprint



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 23 of 100 23




      1      and T-Mobile still have plans to continue to use it.

      2                  So the next thing that you're going to need to think

      3      about is damages.     And damages are a little tricky in this case

      4      because there's different kind of damages for different kinds of

      5      claims, so you may want to take notes on this, but maybe not.

      6      The first type of damages are what's called statutory damages

      7      which I talked about last week.        These are damages that are

      8      essentially fines that are in the statute.        And in fact, here's

      9      -- and this for counterfeiting, you can see not less than $1,000

     10      or more than $200,000 per counterfeit mark per types of good or

     11      services.    But if it's willful, if they're intentionally using

     12      the mark, then it can be up to $2 million per counterfeit mark.

     13                  So here's what it is.     On the Nextel mark itself,

     14      they've admitted they used it on mobile telephones, mobile

     15      radios, dispatch radios.     So if you find it's not willful, then

     16      it's up to $200,000 per use.        But if you find that they're

     17      willfully doing this and they're intentionally doing this, and

     18      they are intentionally doing this, then it's 2 million for each

     19      use.   So for the Nextel mark itself, that's $6 million.         And

     20      then for the Nextel chirp, it's another 2 million.         So the total

     21      on counterfeiting is $8 million.

     22                  Now there's also statutory damages for the

     23      cybersquatting.     And it's different.     You get not less than

     24      1,000, but not more than 100,000 per domain name.         And these are

     25      the domain names that have come into evidence, those five.             So



                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 24 of 100 24




      1      at a minimum it has to be $5,000, but we believe it should be

      2      $100,000 for each one, up to a total of $500,000 because again,

      3      they're obviously using the Nextel mark intentionally in their

      4      domain names.

      5                 Now, the last part for infringement, for dilution and

      6      for unfair competition, they aren't statutory.        So what you're

      7      allowed to do there is you're allowed to -- it's called

      8      disgorging the profits.       You're allowed to have them turn over

      9      their profits on -- for using, for infringing, for diluting and

     10      for unfairly competing.       Well, so the question is what are the

     11      profits?   Well, Mr. Kaplan told us the other day.        He was

     12      talking about the royalty fee on that -- on his agreement with

     13      Mr. Calabrese.     And how is that royalty fee calculated?         It's

     14      based on the quarterly report.       Every quarter they'll send me

     15      their profit and loss statement, and I would get 10% of the net,

     16      the net revenue.     And since the beginning of 2018 to the

     17      present, how much has RetroBrands been paid in a royalty fee

     18      from Nextel, Inc?       Approximately 40 to 50,000.   So you can set

     19      approximately.     We'll take the low one, 40.     Well if 40,000 is

     20      10%, it's 10% of 400,000, so Defendants' profits are 400,000.

     21      So that's what you can award on those.

     22                 So what I'd like to do now is show you the verdict

     23      form.   Your Honor, may I approach the ELMO?

     24                 THE COURT:     Yes, you may.   ELMO.

     25                 MR. RIOPELLE:     So this is a copy of the verdict form



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 25 of 100 25




      1      the Court is going to give you, and let me just explain how this

      2      is organized.    The Court, has wisely, the first series of

      3      questions are all in the Nextel mark.       Then you're going to get

      4      a series of questions on the Sprint chirp mark.         And intertwined

      5      in those are going to be the damage questions.

      6                So let me just go through this with you.        You'll see

      7      the first question here is did Sprint prove, did Plaintiffs

      8      prove, on trademark counterfeiting.       Now, we think the evidence

      9      has clearly shown that yes, they've been counterfeiting on the

     10      Nextel mark.    So then you turn it over, and let me pull this

     11      down, and you can see the Court has put in there the amounts,

     12      the 1,000, 200,000, for the maximum of 2 million, and we believe

     13      here on Question 2, as I just showed you there, they've done it

     14      on three different times so this should be $6 million.

     15      Hopefully your handwriting is a little better than mine.

     16                So the next question is the trademark infringement.

     17      Again, we think the evidence clearly shows that they're

     18      infringing the trademark.     So what do you put here?      Well, this

     19      one is about the damages.     The disgorgement of the profits.         So

     20      here we believe this should be 400,000.

     21                The next one, the next question is on the unfair

     22      competition.    Again, we believe you should say yes on all of

     23      those and again here, this would be 400,000 because this only

     24      goes to the profits.

     25                The next question you're going to see, again, this is



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 26 of 100 26




      1      all still with the Nextel trademark, is the dilution.         Again, I

      2      think it should be yes all the way there and again, the dilution

      3      is 400,000.

      4                And then the last one here is the cybersquatting on the

      5      Nextel trademark.    Again, they're using all of that, and this is

      6      the one, because they're using five of them, and it's $100,000

      7      per one, this should be 500,000.

      8                Now, you can see now that on Question 11, you'll see

      9      it's now switching to the sound mark.       So we're going to ask

     10      some of the same questions.      So first going to ask about the

     11      counterfeiting on the sound mark, we believe that that should be

     12      yes all the way across.     And then here this should be 2 million.

     13                And then on Question 13, again, now still on the sound

     14      mark, this is trademark infringement.       Again, we think it should

     15      be yes, and this should be 400,000.

     16                And then on unfair competition on the sound mark should

     17      be yes, and again there should be 400,000.

     18                Now, you'll see there's no cybersquatting on the sound

     19      mark because you can't use the sound in a domain name, so you

     20      don't have a question for that.

     21                And the last question on here is do you find that

     22      Defendants proved by a preponderance of the evidence that the

     23      Plaintiff has abandoned Nextel Trademark Number 244 by stopping

     24      all use with an intent not to resume use, and obviously we

     25      believe here you should say no.      So hopefully that gives you an



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 27 of 100 27




      1      idea of what you'll be seeing when you see the thing.

      2                So just to wrap this up, we ask that you find

      3      Defendants liable for their numerous violations involving the

      4      trademarks in this case.     And as I said at the end of my opening

      5      statement last Monday by finding Defendants liable, you will be

      6      able to make Defendants stop using Sprint's property and

      7      intentionally trying to confuse consumers.

      8                Thank you for your patience, thank you for your

      9      understanding in this case, and thank you for all the attention

     10      you've paid.

     11                THE COURT:    You have eight minutes left.

     12                MR. RIOPELLE:    Thank you, Your Honor.

     13                THE COURT:    You may proceed, sir.

     14                MR. SCHWARTZ:    Thank you, Your Honor.

     15                Members of the jury, again my name is Wayne Schwartz

     16      and I represent the Defendants here.

     17                Counsel said to you what is really going on here.

     18      Well, this is about a big corporation that parked the one and

     19      only trademark they had left, and then when someone came,

     20      rightfully, and asked for it, they were caught by surprise and

     21      then they acted.    Then they sent out cease and desist letters,

     22      and then they filed this lawsuit, and they basically put us

     23      through this entire process, four years to get to this point,

     24      where we finally have an opportunity to present the case to a

     25      jury, yourselves, and then you'll look at the evidence and



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 28 of 100 28




      1      you'll decide whether or not there was abandonment because

      2      that's what this case is about.       Simply abandonment of the one

      3      and only trademark Nextel -- the Nextel trademark that was left.

      4                 Sprint, as I said, abandoned -- we call it the 244

      5      trademark.     You'll hear me say that a lot.     It's the trademark

      6      that talks about the -- using the name Nextel on equipment.

      7      Actually on devices.

      8                 If I may approach, Your Honor?

      9                 THE COURT:     You may.

     10                 MR. SCHWARTZ:     You'll see here, you're going to see the

     11      evidence, it's going to be tagged.       Some will have Plaintiff's

     12      tags, some will have Defendants' tags, it won't matter as to

     13      what tag is on here.       This is 165, and this is the one we're

     14      talking about.     You'll see here, here's the number, it ends in

     15      the 244.     You'll see here this is the Nextel.     All it is is this

     16      typed bold name.     You see it was registered originally by Fleet

     17      Call.   And here where I've highlighted, it's for equipment used

     18      in providing telecommunications services.

     19                 The issue of abandonment is both our defense and also

     20      our counterclaim.       So we have a counterclaim to cancel this

     21      particular trademark.       You heard about Mr. Kaplan has filed a

     22      petition with the trademark office that wasn't rejected and

     23      thrown out.     You heard him testify that his proceedings are

     24      suspended pending this proceeding.       So whatever the jury here

     25      determines will be reported back to the trademark office and



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 29 of 100 29




      1      they'll proceed with whatever the decision you reach.

      2                  The burden, as Plaintiff's counsel said, they have the

      3      burden on their claims and we have the simple burden on our

      4      claims.     The preponderance of the evidence.     It's the same

      5      burden, just past 50/50, you've got to scales, everyone talks

      6      about the scales of justice, tipping it to one side.         So when

      7      you look at the evidence, all you need to do is determine

      8      whether or not you believe that we've proved our defense of

      9      abandonment or, it's the same exact standard, whether or not

     10      that trademark should be cancelled.

     11                  The second trademark is the sound mark.       And I submit

     12      to you, here it is, again it's 166, you'll get to look at it.

     13      It's assigned a number.       What's interesting about the sound mark

     14      is it's not called the Nextel sound mark.        It's not called the

     15      Nextel chirp, it's not called the Sprint chirp, it's simply

     16      called a sound mark.       It has a number, and this one was

     17      registered in 2016.       So this was way past when Nextel came and

     18      went.     They finally, after years and years and years, got this

     19      one registered.       And you see here first use, 1997.    So for over

     20      20 years they've been trying to get this sound registered.          Took

     21      them that long.       The sound has very -- it's a very specific

     22      frequency.     Why?    Because if people are going to use it, it's

     23      important to know does that sound -- is that the sound?          Or is

     24      this the sound?       Or is this the tone?   Or is this the frequency?

     25      They have it very specific here.       It's three beeps, on-off,



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 30 of 100 30




      1      on-off.     It's a total of 144 milliseconds and 1,000 milliseconds

      2      is one second.     So it's a split second sound, right?      Again, the

      3      burden of proof that we've committed an infringement of this

      4      particular mark rests with the Plaintiff.        I submit to you that

      5      they threw this into the lawsuit in order to distract you, the

      6      jury.     Distract you away from the issue of the abandonment.

      7      Clearly, I'm -- and I'll go through the evidence concerning the

      8      sound mark, we don't want the sound mark, we never asked for the

      9      sound mark.     I'll walk you through it.    They didn't play one

     10      phone of ours in this courtroom with the sound mark.         They had

     11      four years.

     12                  The Judge will instruct you on the law.      And ours is

     13      really simple for you, the jury, to understand.         It says that

     14      abandonment of a trademark is ground for the cancellation of a

     15      trademark registration.     To prove abandonment, the Defendants

     16      must prove the following:     Sprint discontinued the bonafide use

     17      of its trademark, and did so with the intent to not resume its

     18      use in the reasonable foreseeable future.        If you find that

     19      Sprint has not used the trademark for three consecutive years,

     20      you may presume that Sprint did not intend to resume use of the

     21      trademark.     But Sprint can rebut the presumption by producing

     22      evidence that it intended to resume use.        As for that three-year

     23      period, that's for the jury, that's for you to decide.         We went

     24      from 2013 to today, we're sitting here today, that's nine years.

     25                  You were shown this 2004 Super Bowl ad.      The fancy ad.



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 31 of 100 31




      1      18 years ago they played that ad, and the only one whose

      2      attention it got was Sprint because they decided to buy them.

      3      That's 2005 is when the merger took place, and with the merger

      4      Sprint got themselves 20 million subscribers.        They wanted to

      5      integrate them into their system.        They changed their name to

      6      make Nextel happy, so they called it Sprint Nextel Corporation.

      7      Except when push comes to shove, push, this was a walkie-talkie

      8      company with 20 million subscribers.        Yeah, it had the fancy

      9      Super Bowl ad, but it had its Motorola 2G network.         Sprint was

     10      already on to 3G and the other cell companies were also on to 3G

     11      and moving forward.

     12                You heard Mr. Wiley come here and testify that after

     13      the merger they weren't going to do any more national

     14      advertising for Nextel.     They didn't want to spend the money

     15      because they realized, the people at Sprint, that it wasn't

     16      worth spending the money on because it was such a niche

     17      sub-market.     I mean, we're talking walkie-talkies.      Other than

     18      the old Nextel ads, which were only on my client's website with

     19      a disclaimer, hey, these are the old ads, everyone knows You

     20      Tube, the ads are out there, you can look them up, they're

     21      there, there was no other current advertising for Nextel.          The

     22      ads were just legacy ads.     And why?     Because Sprint has nothing

     23      to advertise.     They're not using these phones.     And now after

     24      the T-Mobile merger and purchase of Sprint, we're not going to

     25      see any ads for Sprint anymore.      You don't see any ads for



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                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 32 of 100 32




      1      Sprint.     The yellow Sprint is gone. All the stores, everybody

      2      gone.     So when Mr. Riopelle tells you what is this really about?

      3      Well, it's about Nextel being kicked to the curb and now Sprint

      4      being kicked to the curb and now it's T-Mobile.         They have no

      5      use for Nextel.

      6                  There's one trademark left, and we were the ones that

      7      asked to use it.     And we didn't come in here like bank robbers

      8      trying to take the Nextel.      You're going to see all the

      9      evidence.     You're going to see how much time and effort was

     10      spent by the Defendants in order to make this another beautiful

     11      brand again.     This wasn't just -- you know, there's phones,

     12      there's marketing, there's all kinds of stuff and time and

     13      effort that they put in to getting this up.        They went out and

     14      got distributors.     You'll look at their websites.      They each

     15      have one independent because Mr. Kaplan, he's not in the

     16      business of selling phones.      He was just in the business of

     17      making sure the -- he was supporting the manufacturing and

     18      Nextel, and Mr. Calabrese, Mr. Rivera and their company going to

     19      the trade shows, dealing with the manufacturers, things of that

     20      nature.

     21                  By 2010 Sprint realized that merger was a complete

     22      bust.     We all know it, we all heard it in here.      Sprint had to

     23      take -- or they took a $29 billion goodwill write-down.          Meaning

     24      they overpaid, and instead of amortizing that goodwill out over

     25      time, they advanced it and wrote off $29 billion.



                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 33 of 100 33




      1                  You heard Mr. Kaplan talk about the things he did at

      2      the time he was asked to investigate.       This is one of the

      3      documents that he came across which was on Sprint's own website.

      4      I want to make that clear.      Not the New York Times , not some

      5      other article, this is what they put on their own website to

      6      advise their customers and the world what was happening.          Sprint

      7      to cease service on its iDEN network as of June 30, 2013.

      8      It's a poor quality here, but you're going to have it back in

      9      the jury room so you can see it, but I'm going to read it to

     10      you.   This is the highlight down here.      And it says the company

     11      has already discontinued selling iDEN devices in certain

     12      channels.     It will discontinue selling iDEN devices in all

     13      channels and all brands carrying iDEN Nextel products over the

     14      next several months.     And this announcement was May 2012.       So

     15      think about that.     They basically told all of their customers

     16      and the world that in May of 2012 we are going to be done with

     17      all brands.     And when I say all brands, everything that had the

     18      Nextel logo, label, everything was going to be gone.         And if

     19      that was a true statement by Sprint, then they no longer needed

     20      the 244 trademark, The one Nextel trademark.        They didn't need

     21      it.

     22                  In Counsel's opening statement he promised that you

     23      would see during this trial that Nextel appears on a lot of

     24      devices.    That's his quote.    On a lot of devices.     Sprint didn't

     25      come in here and show you a single Nextel-branded phone, and



                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 34 of 100 34




      1      what I mean by that is, and we all know it, you look at the

      2      phone and the name of the company is right there on it.          It

      3      would say Nextel.     The only ones that came in here with a phone

      4      that said Nextel was my client.      Ask yourself where, where were

      5      the phones he promised he was going to show you?         There were

      6      none.   He broke his promise to you.

      7                Turns out the only phone that got walked into here with

      8      the Nextel logo on it came from Sprint's private investigator

      9      Ryan Rabenold, and I think you remember Mr. Rabenold.         He's the

     10      one who decided involuntarily to just say that the label was

     11      crooked on the phone.     No one asked him, he just decided, you

     12      know, he was going to have his moment, you know, on the stand

     13      and disparage, you know, our product, the phone.         But you're

     14      going you can see the evidence, you can see all the brochures,

     15      you can see all the phones, you can see how nice the phones look

     16      that they made.     This wasn't a fly-by-night situation.      They

     17      took time and effort in order to make these particular phones,

     18      they had all the different models.

     19                Mr. Rabenold testified that he was to get his hands on

     20      the product and determine authenticity.       Right?    He said that.

     21      But then on cross-examination, he said he was actually not asked

     22      to authenticate the product.

     23                Here's Exhibit 93, you'll get to see this.        This is

     24      Mr. Rabenold's report.     He bought two phones from Northeast Two

     25      Way Radio in November of 2018.      That is a distributor.     You can



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 35 of 100 35




      1      see that company on Nextel's website, they list all their

      2      distributors.     He said -- and it's in here, both distributors he

      3      spoke to, because he called not just Northeast but he also

      4      called this other company, let's see where it is, Seacoast, it's

      5      on the second page.     Both of those individuals who he spoke to

      6      gave honest answers back to him when he asked them oh, do these

      7      phones have the Nextel chirp?      They both said to him no, they

      8      don't have the Nextel chirp.      Okay.     Great.    I'll take two from

      9      Northeast and they shipped him down the phones.           And he powered

     10      it up and lo and behold, took a little to get it out of him if

     11      you recall.     He wrote a report, written report, all the details,

     12      sent it on to Sprint, on Page 4, you'll see.           When you turn the

     13      radios on, a noise is emitted, but it doesn't appear to be the

     14      Nextel chirp.

     15                Then in a surprise twist he testifies that he learned

     16      about a You Tube video, follow me on this.           He learned about a

     17      You Tube video only days before the trial, and that he was

     18      watching it and he heard that -- remember, that split second

     19      chirp sound over You Tube video.      Oh, there it is, that's the

     20      Nextel chirp on the phone.      And he wanted to get that across to

     21      you.   I asked him if he had any -- if he even knew the radio

     22      frequency specs, he said no.      I asked him if he had any

     23      background in audio engineering, he said no.           Then I asked him

     24      well, did you purchase the phone?         Oh, no.    I didn't have enough

     25      time to purchase the phone or he said they never asked me to



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 36 of 100 36




      1      purchase the phone.        Well, if you discovered this counterfeit

      2      phone with the chirp, just order the phone, FedEx, he would have

      3      had it the next day.        Would have had it to them the day after

      4      that, or they could have gone.        They could have up Sprint and

      5      said hey, lucky us, four years, we didn't see a single phone but

      6      now we see a phone, so let's go ahead and get it.           No, they

      7      don't do that.        They just have him come in here and tell us oh,

      8      I can magically hear the phone.        I submit to you that

      9      Mr. Rabenold's testimony is just simply not credible.           Just

     10      simply not credible.        You can watch and listen to the video

     11      yourself.        It's going to be in evidence.     He made it clear when

     12      I asked him that he was never asked to buy another phone in the

     13      four year period.

     14                  If they cared so much about this chirp and our phones,

     15      why wouldn't they have been looking for our phones and testing

     16      on them?     Bringing in an expert saying here's the phone with the

     17      chirp.     No.     They didn't do any of that.     Not a single device

     18      came in and played for you that was ours that had this chirp.              I

     19      submit to you that is absolutely detrimental to their claim.

     20      They say that they are concerned about the chirp, they didn't

     21      even come in here and produce a single Sprint phone and play

     22      that for you.        Because they don't have Nextel phones, they don't

     23      have Sprint phones.        Nobody is playing the chirp.

     24                  Mr. Riopelle showed you the verdict form.        I don't have

     25      to belabor it, you're going to see it.           Questions on here, it's



                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 37 of 100 37




      1      a bunch of questions.     11, 13 and 15.    You're going to see it,

      2      they all mention the sound mark.       The answer is just no when

      3      they ask you the questions did we infringe the sound mark.            It's

      4      real simple.    Strike through it as to no.

      5                There were other events that happened post-merger after

      6      Sprint realized they had to get rid of Nextel.        They changed

      7      their name back just to Sprint.       They got rid of the Nextel.

      8      The marriage was over.       They wanted to change their name back.

      9      And we had 50 trademarks or so abandoned, leaving the one.

     10                Now, I showed you this during my opening.        That's the

     11      only thing crooked in here, the easel.

     12                Ms. Jobe, and this is important, she's Sprint's senior

     13      trademark lawyer.     She's -- you're going to see her name on a

     14      bunch of documents.     She testified through deposition transcript

     15      in this particular proceeding.       She testified that the yellow

     16      and black design with the black stripe was abandoned.          It's

     17      right there.    Abandoned.     This is the letter you heard about,

     18      the cease and desist letter, April 26, 2017 when Mr. Calabrese,

     19      on his own, with no experience, had sought to file his own

     20      application.    And he was, I guess, in over his head as they say.

     21      And so, but what's important here is that she sent this cease

     22      and desist letter and in here, in the -- buried in the language

     23      is she wants him to stop using the Nextel including design marks

     24      we abandoned long ago.       So she's even telling him we've

     25      abandoned marks, we want you to stop, you know, with regard to



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 38 of 100 38




      1      using those as well.

      2                Mr. Shaughnessy, he came in here and testified, he's

      3      the marketing guy.     He testified well, we didn't really need all

      4      those trademarks.    That's what his testimony was.       96% of the

      5      trademarks?   You want to argue that they want to resume use,

      6      they want to use Nextel, I guess T-Mobile, but yet they got rid

      7      of all the trademarks, all of them except for just this one.             It

      8      doesn't -- it belies the credibility and the veracity of what

      9      he's saying doesn't really make any sense.

     10                Part of that abandonment defense is the intent to

     11      resume use.   I submit to you why would they abandon the one

     12      design mark that most consumers actually can recall, this one?

     13      Instead they just kept the word mark, they parked it.         You heard

     14      me say in the beginning why?      Because they parked it, they never

     15      thought anyone would come around looking for this one particular

     16      mark.

     17                Brent Kohman, he came here to testify.        He left Sprint.

     18      Curiously, he left Sprint in 2014 right after they shut down the

     19      network and probably handed out a bunch of pink slips.         He was

     20      working there for 17 years on the push-to-talk platform.          That

     21      was his life, his baby.     He talked about it, he started right

     22      out of school.    He was on Kodiak, Motorola, Sprint, Nextel.          He

     23      was like a lifer.    He was passionate but the push-to-talk.        But

     24      I'm sure he was upset when -- just like the rest of the 20

     25      million people, that his company that he was working for all



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 39 of 100 39




      1      those years said we don't need Nextel anymore.        So what did he

      2      do?   He quit, he left.    But they brought him in here to testify

      3      and at first he said he recalls seeing Nextel-branded devices.

      4      Then he changed his testimony and he said he actually hadn't

      5      seen the Nextel on the device, but it was on the packaging.            And

      6      then he actually testified, which seemed to be true, that he was

      7      not familiar with Sprint's portfolio of devices.         Why?   Because

      8      he hasn't been there since 2014.

      9                So I'm not sure the purpose of his testimony, but he

     10      did come in here, curiously, and parrot the same testimony as

     11      the other witnesses, Mr. Wiley and Mr. Shaughnessy.         They all

     12      use that same catchy buzz word, gold standard.        You heard Kohman

     13      say it, Wiley said it, Shaughnessy said it.        They all used the

     14      same term, gold standard.     Again, if it was the gold standard,

     15      the gold standard, then why wasn't the Nextel prominently

     16      displayed on the phones that they were going to sell,

     17      prominently displayed on the boxes.       You're going to see the

     18      boxes back there.    When you see the boxes, all you're going to

     19      see is Sprint, Sprint on the phone, Sprint, Sprint Direct

     20      Connect, Sonim, that was one manufacturer that made that

     21      particular device.    Nextel's nowhere to be found, except they're

     22      going to say well, it's buried in fine print on the back where

     23      they say oh, Nextel mobile device.       That to me, the jury, you'll

     24      decide whether or not that is sufficient use for purposes of

     25      defeating an abandonment claim.



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 40 of 100 40




      1                  These same three witnesses, their connection is they

      2      all were at the 2017 trade show where all the dust-up happened,

      3      you know, because there was a Nextel booth, and they were

      4      surprised.     Yeah, of course they were surprised because their

      5      own bosses at Sprint, any time they probably asked hey, are we

      6      ever going to bring back Nextel?        And they probably said no,

      7      never.     Why would we ever do that.     Costs us billions of

      8      dollars.     So they see a Nextel booth, and of course they're a

      9      little surprised and of course they're going to be a little

     10      confused.

     11                  But a few people at a trade show among thousands and

     12      thousands of people coming up to them, people they knew, couple

     13      of people they said, that is not -- that doesn't rise to the

     14      level of actual confusion which should be reasonably

     15      significant.     I'll say it again.     Confusion.   Actual confusion

     16      has to be reasonably significant, and they didn't put on any

     17      evidence to suggest that the consumers were confused about our

     18      appearance at the IWCE trade show.        Why?   Because consumers had

     19      long forgotten about Nextel and the phones and the service and

     20      the devices that they were selling at those trade shows.            They

     21      were not Nextel phones, they were Sprint Direct Connect phones.

     22      And the only reason -- they showed you a banner, and it had in

     23      fine print, you know, this old slogan from 2007 and they were

     24      giving away, I think, an iPad or something, they were selling

     25      Sprint Direct Connect phones.      It's obvious.     There was no



                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 41 of 100 41




      1      Nextel phones on the table.      Where the Nextel phones were were

      2      at the Defendants' booth wherever it was in the room.         That's

      3      where you could go and see the nice phones in the yellow boxes

      4      and people were excited.     There was a buzz.     There should be a

      5      buzz, right?    You know, the brand had been, again, kicked aside.

      6      And now somebody, whether it was Sprint or my clients, someone

      7      at least was deciding to hey, we love this brand and we would

      8      like to bring it back.

      9                What didn't they show you?      Well, they didn't show you

     10      a single document evidencing any sales.       If they had, then there

     11      would be an issue about hey, are we in the same sales channels?

     12      Because that's one of the tests for infringement.         But they

     13      didn't produce here a single document showing any sales of any

     14      Nextel phones at all.     So what does that say to you?

     15                While at the show, Mr. Wiley, he saw the phones, he

     16      testified he didn't operate a single phone.        Mr. Mancuso, he

     17      also testified, another gentleman who was at the show, he

     18      testified he didn't test the Nextel device either.         They brought

     19      in all the guys from the show, all these guys that were Sprint

     20      lifers, that were dealing with push-to-talk, these were the only

     21      ones they could find to bring in to talk about the gold standard

     22      and the Nextel and the Nextel brand.

     23                To renew the trademark for the one that's at issue

     24      here, Ms. Jobe submitted a used box from 2013 called the Sonim

     25      Strike XP IS device, it's Number 10 exhibit.        You're going to



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 42 of 100 42




      1      see the real box when you get back there.        Here's what it looks

      2      like.     I'll just cover it real quick, like I talked about

      3      earlier.     This is the box she submitted to the trademark office.

      4      It's a phone.     By the way, she testified she couldn't find the

      5      phone or she didn't have the phone.       They dug a box out from

      6      somewhere, it says Sprint on it.      So it's not a Nextel phone,

      7      right?     It's a Sprint phone.   And it says Sprint Direct Connect.

      8      Sprint with its new fan logo and Sonim, who makes the phone.

      9      Everyone's got their trademarks and everything on the front

     10      here.     And so -- and this is what -- this box was from 2013,

     11      that's when the box was manufactured, and it says here, parked

     12      at the very bottom, other marks are the property of respective

     13      owners.     Nextel mobile phone, that's, I guess, a mark that they

     14      just wanted to put on there.      But it says here this device will

     15      not operate on any iDEN or 4G network.       Well, if they were so

     16      concerned about the critical issues and all that stuff with the

     17      phones, and they shut down the network, and then they tell the

     18      trademark office well, we're still selling Nextel phones in that

     19      box but it doesn't work on the iDEN network and it says Sprint,

     20      but don't look because it's so small, maybe they just didn't

     21      think anyone was going to pay attention.

     22                  Mr. Kaplan you heard, you know, he's an expert or so

     23      that's what Mr. Calabrese thought, you know, after talking to

     24      him, 25 years of doing this type of work.        You heard that Mr.

     25      Kaplan had also put in an application because that's what you're



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 43 of 100 43




      1      required to do.     And even if someone like, a company like Sprint

      2      has a registered trademark, you've heard about this, just

      3      because it's registered doesn't mean it's off limits, that's not

      4      the test.    The test is hey, are they using it in commerce on

      5      goods in the public.     And if they're not, if someone believes,

      6      like Mr. Kaplan, or anyone, believes that they're not, then can

      7      you file an application.     And he did file that application, and

      8      yes, here it is, January 29, 2018, for Nextel.        Here's his

      9      company.    He did it under RetroBrands USA.      He explained why

     10      there was a switch from Mr. Calabrese individually to him for

     11      his company.

     12                  And I want you to see the difference, and you can

     13      compare, of his submission and specimen.        Here's the name that

     14      he's looking for, and here's the product in use that he's

     15      telling the trademark office this is the product that is being

     16      sold.   It's got the yellow box and very prominently the Nextel

     17      is on the phone, here it is and this is what he submitted to the

     18      trademark office.     And you can compare his picture and his phone

     19      with the box that I pointed out to you.

     20                  Ms. Jobe testified that that same Sprint Sonim phone is

     21      not sold in a retail store.      Think about that.    It's not sold in

     22      a retail store.     They claim, you may have heard it already, that

     23      well, it's in fine print on a manual that goes along with the

     24      phone inside, and I submit to you and you can decide, that that

     25      is not trademark use when it's buried inside the box, not on the



                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 44 of 100 44




      1      outside of the box that no one can actually see.

      2                  And again, this is all rendered moot because if you

      3      have no sales, then you have no sales.        Sprint's witnesses came

      4      in, and even though they didn't have any document to back them

      5      up, Mr. Shaughnessy, he said well, we've sold lots and lots,

      6      millions of Nextel-branded phones since 2013.        And they made a

      7      specific point to rattle off all the years trying to cover all

      8      the period from 2013 to today.        So they just had him say it,

      9      2013, '14, '15, yes, yes, yes, but yet nothing to corroborate

     10      what he's saying.     Not a single document.     Not a single piece of

     11      paper.     Oh, we sold, you know, a thousand phones, 500 phones, a

     12      million phones, nothing.     Nothing comes in.

     13                  Sprint's counsel in his opening last Monday, one week

     14      ago, he made another promise to you.        He said in his opening

     15      that you, the jury, would see evidence of Sprint's sales using

     16      the Nextel trademark.     He said you would see those sales since

     17      2013.     And again, they didn't produce a single document, so he

     18      broke both of those promises.        That's twice now.

     19                  Mr. Kaplan testified about meeting Mr. Calabrese in the

     20      beginning of 2018.     He testified about his experience, excuse

     21      me.     And then all the research.     And not to bore you again, you

     22      heard him testify and he went through all the things, but I'm

     23      just going to hit just the highlights.        He checked both Nextel

     24      and Sprint.     He checked the SEC.     He checked the form 10-Ks

     25      which are going to be back there.        You can take a look at them,



                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 45 of 100 45




      1      you don't have to go too far, the good stuff's right in the

      2      beginning pages one through ten.      He went to the trademark

      3      office, he did his research there.       He went to the Nextel.com

      4      website, it was dead.     The actual website for a gigantic former

      5      brand was nonexistent.     No website.    He searched Sprint's

      6      website and he testified he could not find a single

      7      Nextel-branded phone on the website.

      8                  And Ms. Jobe, her testimony actually supports Mr.

      9      Kaplan's testimony because she testified that the Sonim phone,

     10      the one phone that they're saying they were selling was not

     11      available to the public on the website.       So what does that tell

     12      you?     They weren't -- that phone wasn't even on the website,

     13      assuming that they were actually selling it.        So when he went to

     14      the website to look for it, it wasn't there.        That's from Ms.

     15      Jobe.

     16                  Mr. Kaplan said he went to several Sprint stores and

     17      locally here and inquired about can I get a Nextel phone, and

     18      you heard him testify that the staff didn't even know what he

     19      was talking about.

     20                  Mr. Calabrese testified he visited the Sprint store in

     21      Las Vegas when they were out there for the show, and he was told

     22      you can't buy that, you can't buy Nextel anymore.

     23                  Counsel made a to-do about Mr. Calabrese.      You saw his

     24      video.     You heard his testimony.   You'll decide whether his

     25      personal problems have anything to do with this particular case



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 46 of 100 46




      1      or his veracity.

      2                Ms. Jobe, she was the one that said the phones are not

      3      sold in a retail store.     And he testified truthfully, yeah, I

      4      went to a store and I asked and there was no -- they said no, we

      5      don't sell those phones anymore.      So you'll decide his veracity.

      6      The visit to those stores was in 2017 and 2018, just so you can

      7      have that time period in your mind as to this gap that I talked

      8      about in my opening where Mr. Riopelle wanted to leap over a

      9      whole series of events and dates and times.

     10                Then we fast forward six years from the 2015 renewal.

     11      And what does Sprint do?     They bring in this CAT S22 phone and

     12      this CAT S62 phone.

     13                THE COURT:    Microphone.

     14                MR. SCHWARTZ:    Sorry, Your Honor.

     15                THE COURT:    I don't care, but if you want them to hear

     16      you, you better use the microphone.

     17                MR. SCHWARTZ:    Appreciate that.     So they walk in these

     18      two phones.    Again, curiously, 2021 is the date on the phones,

     19      it says 22.    This is a -- you can see it, it's Caterpillar.

     20      Caterpillar.    They have their registered trademark, it's their

     21      phone.   In the sticker to keep the box closed it talks about

     22      T-Mobile, Metro by Mobile.      Down here on the box T-Mobile, Metro

     23      by Mobile, Sprint.com.     Nowhere on the box, the physical box,

     24      does it say Nextel.     But what they do want you to believe, they

     25      want you to believe that miraculously the label that gets placed



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 47 of 100 47




      1      on to the box by the manufacturer in China, just now has this

      2      Nextel name planted on it right next to the recycle bin here.

      3      Here's the date.     This is what they walked into court to try to

      4      show proof that they were still selling some sort of

      5      Nextel-branded phone.     You'll decide if you think this is a

      6      Nextel-branded phone.

      7                  One important point.     Mr. Shaughnessy testified that

      8      Sprint and Sonim collaborated on the label for their box, that's

      9      the 2015 box, which makes sense.        I don't think CAT or Sonim is

     10      going to do anything without talking to their -- talking to

     11      Sprint, right?

     12                  All their witnesses with the gold standard.      The other

     13      thing they kept talking about was the Nextel brand.         We're

     14      concerned about the Nextel brand.        This isn't about the Nextel

     15      brand.     This is about one trademark, for devices using the word

     16      Nextel.     That's what this is about.     It's not the brand.

     17                  This is Exhibit 59, it's Plaintiff's Exhibit.        It's the

     18      annual report for Sprint for 2014 filed March 2015.         And right

     19      here on Page 10 under patents, trademarks and licenses, this is

     20      2014.     We own numerous patents, et cetera, et cetera, and

     21      trademarks and other intellectual property in the US and other

     22      places, countries, including Sprint Nextel Direct Connect, Boost

     23      Mobile, Assurance Wireless.        This is what they told the public

     24      in their annual report to shareholders, and anyone else that

     25      wanted to invest in that particular company.



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 48 of 100 48




      1                 Fast-forward one year to 2015.     Defense 5231, you'll

      2      see it back there, it's the annual report for 2015 filed March

      3      2016.    The form is basically the same and you're changing

      4      things, you're editing it, and here now what do we see.          Now

      5      they're announcing, under their patent trademark section, we own

      6      -- it's the same language -- trademarks and intellectual

      7      property including Sprint, Boost Mobile and Assurance Wireless.

      8      And what is missing?     Nextel.   You can see the two, I did it for

      9      you.    So they were telling everyone we do not care about the

     10      Nextel brand anymore.

     11                 Ms. Jobe testified that the -- that Nextel was

     12      advertised on the Sprint website as a former brand, and this is

     13      kind of important.     Again, she's their trademark lawyer.       She

     14      testified, and I'm quoting her, a brand is not a trademark.

     15      Those are her words.     That's Sprint's trademark lawyer.       I'm

     16      going to say it one more time.      A brand is not a trademark.

     17      Ours is very specific.

     18                 Now fast-forward, we have this lawsuit, and we get to

     19      the end of the road, and there's the issue of damages.         And I

     20      was kind of surprised because Mr. Riopelle in his closing

     21      argument, one of the first things he said is we don't care about

     22      damages, we're not asking for damages, we just want them to

     23      stop, right?    I think I heard it, it was 40 minutes ago.        And

     24      then he goes through this wild exercise showing you the verdict

     25      form, filling it out.     And what is he doing?     He's filling in



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 49 of 100 49




      1      numbers that -- well, millions, millions of dollars.          How, on

      2      one side, is he saying this isn't about damages, it's not about

      3      that, and then he fills out this form expecting you to fill it

      4      out the way he fills it out because that's what he would like?

      5      And I added it up, it's over $10 million.        How can he say --

      6                THE COURT:    Your time is up.     You'll wrap it up.

      7                MR. SCHWARTZ:    I'll wrap it up, Your Honor.

      8                THE COURT:    Quickly.

      9                MR. SCHWARTZ:    The questions on the form for

     10      infringement 13, 5, 7 they're no's.        Number 9, that has to do

     11      with the cybersquatting, if they don't have a domain name,

     12      they're not on anything and we do, I would submit to you the

     13      answer to that question is no.      Every Question 1 through 16

     14      should be no.    The final question is Number 17, it's real

     15      simple, Court has made it real simple for the jury.          Do you

     16      think they abandoned the trademark.        Yes or no.    You check yes,

     17      the foreman signs the form and hands to it the bailiff.

     18                Thank you.

     19                THE COURT:    Thank you, sir.

     20                MR. SCHWARTZ:    Thank you, Your Honor.        Would you like

     21      me to clean this up now or later?

     22                THE COURT:    You can clean it up now.        He might need the

     23      space.

     24                MR. RIOPELLE:    Wow, I could go on for another 45

     25      minutes, but you don't want that, and he won't allow me to do



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 50 of 100 50




      1      that.

      2                  THE COURT:   I won't allow it.

      3                  MR. RIOPELLE:     You won't let me do it.

      4                  A couple quick things.     This case is about the

      5      evidence.     He was talking about stuff that's not even in

      6      evidence.     He talked about pink slips.     There is no evidence.

      7      There was no pink slips handed out.        He talks about the managers

      8      talking were telling them about oh, we're not going to bring

      9      back Nextel.     There's no evidence of that, he made that up.

     10                  The other thing, he showed you the box that he said

     11      that Ms. Jobe put on the -- when she renewed it 2016.          That

     12      wasn't the box she on there.        He put up Exhibit 10.    If you want

     13      to look at that time real box, that is Exhibit 38.          That was the

     14      box she took pictures of and sent when they renewed the mark.

     15                  He talked about the chirp.     He showed you the report

     16      from the private investigator back in 2018 saying it says there

     17      was no chirp.     What he didn't do is go and read the next

     18      sentence and tell that you it says but we're trying to get the

     19      chirp.     And then what happened is is that same guy they talked

     20      to did a video, posted it in February of 2022, and now they have

     21      the chirp.     That's why we showed you that evidence because they

     22      were using the chirp.

     23                  He made a big deal about Ms. Jobe says you can't find

     24      it in retail stores.        Well, you can't find in it retail stores

     25      anymore.     We told you that, Mr. Shaughnessy told you that,



                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 51 of 100 51




      1      everybody told you that.     What he didn't tell you is that the

      2      next thing Ms. Jobe said in that deposition is you can get it

      3      from your business partners.      The business partners who have

      4      accounts with us can get on there and they can buy it on the

      5      website.    So it's still it was still there.

      6                 He shows you the 10-K which, again, is where you list

      7      your trademarks for purposes of how many trademarks you own, but

      8      focus on the language that it was saying.        It says we own the

      9      following trademarks including.      So if it says including, that

     10      means there are other trademarks that aren't just the ones

     11      listed there.

     12                 Couple more points.    He talked about how oh, we just

     13      parked the trademark out there in the Patent and Trademark

     14      Office.    You don't park something and then renew it in 2015.

     15      That's not parking it.     We renewed it because we were using it

     16      and we showed the United States Patent and Trademark Office how

     17      we were using it.

     18                 He also showed you the chirp mark that, as he made a

     19      big deal about this, wasn't registered until 2016.         Do you think

     20      we had abandoned the Nextel brand if we're still seeking

     21      registrations on stuff that's used with the Nextel brand?          No.

     22      It's not abandonment.     I mean, it actually is a better argument

     23      for us using it than I had made on some things.

     24                 He also talked -- said that I made a bunch of promises

     25      apparently last Monday.     He says I promised you I would show you



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 52 of 100 52




      1      Nextel being used on devices.      No, I didn't.    I didn't promise

      2      you you would see it used on devices because I knew that my

      3      client didn't use it on devices.      Instead what I just showed you

      4      was the statute and I went through it, to be placed in any

      5      manner on the containers, I showed you that it's on the boxes,

      6      on tags or labels affixed thereto.

      7                He showed you the CAT 22 and showed you that we put a

      8      label on there with Nextel, that's what we did.         On documents

      9      associated with the goods, that's on the manuals, it's how we're

     10      using it, and on services when it is used or displayed in the

     11      sale or advertising, on the PowerPoints.        That's what the United

     12      States statute says.     That's what Congress has said.

     13                Their argument is now -- I now realize it has boiled

     14      down to well, it's not on the devices so it doesn't count.

     15      That's not what the law says.      He's not arguing the law.      He's

     16      asking you to ignore the law and that's not what you're supposed

     17      to do.

     18                Last two things.    He talked about how you didn't see us

     19      coming in here with any other products and testing the products.

     20      We didn't have their products.      They had all their products,

     21      they certainly could have tested them, they certainly could have

     22      displayed those products and show how they allegedly did not

     23      have the chirp.    Maybe they didn't show you the products because

     24      they, in fact, do have the chirp.

     25                Mr. Wiley up there said the only version of a product



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 53 of 100 53




      1      we got from them didn't work.      He tried and it didn't work.        He

      2      also said that we never showed you a Nextel phone or a device --

      3      we showed you the CAT device which is being sold under the

      4      Nextel brand for Nextel push-to-talk that had the chirp.          He

      5      said we never showed you one.      Mr. Wiley sat there on the stand,

      6      you remember, and he had the chirp.

      7                The last thing I want to touch on is he says they did

      8      the investigation, they wanted to use it, they thought they were

      9      abandoned, and then he said and they asked to use it.         You may

     10      remember last Tuesday, I asked Mr. Kaplan on the stand, did you

     11      ask Sprint if you could use the Nextel mark?        He said no, I did

     12      not.   They did not ask.    Instead, they tried to steal it,

     13      they're infringing it and you need to make them stop.

     14                Thank you.

     15                THE COURT:    Members of the jury, it's now my duty to

     16      instruct you on the rules of law that you must use in deciding

     17      this case.    When I finish you'll go to the jury room and begin

     18      your discussions, which we call deliberations.

     19                Your decision must be based only on the evidence

     20      presented here.    You must not be influenced in any way by either

     21      sympathy for or prejudice against anyone.

     22                You must follow the law as I explain it, even if you

     23      don't agree with it, and you must follow all of my instructions

     24      as a whole.    You must not single out any or disregard any of my

     25      instructions on the law.



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 54 of 100 54




      1                 The fact that a corporation is involved as a party must

      2      not affect your decision in any way.       A corporation, and all

      3      other persons, stand equal before the law and must be dealt with

      4      as equals in a court of justice.      When a corporation is

      5      involved, of course, it may act only through people as its

      6      employees; and in general, a corporation is responsible under

      7      the law for the acts and statements of its employees that are

      8      made within the scope of their duties as employees of the

      9      company.

     10                 As I said before, you must consider only the evidence

     11      that I have admitted in the case.       Evidence includes the

     12      testimony of witnesses, stipulations of the parties, admissions

     13      of the parties presented in court and the exhibits admitted.

     14      But anything the lawyers say is not evidence and isn't binding

     15      on you.

     16                 You should not assume from anything I've said that I

     17      have any opinion about any factual issue in this case.          Except

     18      for my instructions to you on the law, you should disregard

     19      anything I may have said during the trial in arriving at your

     20      own decision about the facts.      Your own recollection and

     21      interpretation of the evidence is what matters.

     22                 In considering the evidence, you may use reasoning and

     23      common sense to make deductions and reach conclusions.          You

     24      should not be concerned about whether the evidence is direct or

     25      circumstantial.    Direct evidence is the testimony of a person



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 55 of 100 55




      1      who asserts that he or she has actual knowledge of a fact such

      2      as an eyewitness.     Circumstantial evidence is proof of a chain

      3      of facts and circumstances that tend to prove or disprove a

      4      fact.    There is no legal difference in the weight you may give

      5      to either direct or circumstantial evidence.

      6                 When I say you must consider all the evidence, I don't

      7      mean that you must accept all the evidence as true or accurate.

      8      You should decide whether you believe what each witness had to

      9      say and how important that testimony was.        In making that

     10      decision you may believe or disbelieve any witness in whole or

     11      in part.     The number of witnesses testifying concerning a

     12      particular point does not necessarily matter.

     13                 To decide whether you believe any witness, I suggest

     14      you ask yourself a few questions:

     15                 Did the witness impress you as one who was telling the

     16      truth?

     17                 Did the witness have any particular reason not to tell

     18      the truth?

     19                 Did the witness have a personal interest in the outcome

     20      of the case?

     21                 Did the witness seem to have a good memory?

     22                 Did the witness have the opportunity and ability to

     23      accurately observe the things he or she testified about?

     24                 Did the witness appear to understand the questions

     25      clearly and answer them directly?



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 56 of 100 56




      1                Did the witness's testimony differ from other testimony

      2      or other evidence?

      3                You should also ask yourself whether there was evidence

      4      that a witness testified falsely about an important fact and ask

      5      whether there was evidence that at some other time a witness

      6      said or did something, or didn't say or do something that was

      7      different from the testimony the witness gave during this trial.

      8                To decide whether you believe a witness, you may

      9      consider the fact that the witness has been convicted of a

     10      felony, but keep in mind that a simple mistake doesn't mean a

     11      witness wasn't telling the truth as he or she remembers it.

     12      People naturally tend to forget some things or remember them

     13      inaccurately.    So if a witness misstated something, you must

     14      decide whether it was because of an innocent lapse in memory or

     15      an intentional deception.     The significance of your decision may

     16      depend on whether the misstatement is about an important fact or

     17      about an unimportant detail.

     18                In this case it is the responsibility of the party

     19      bringing any claim to prove every essential part of their claims

     20      by a preponderance of the evidence.       This is sometimes called

     21      the burden of proof or the burden of persuasion.         A

     22      preponderance of the evidence simply means an amount of evidence

     23      that is enough to persuade you that the party's claim is more

     24      likely true than not true.      If the proof fails to establish any

     25      essential part of a claim or contention by the relevant burden



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 57 of 100 57




      1      of proof, you should find against the party making that claim or

      2      contention.   When more than one claim is involved, you should

      3      consider each claim separately.

      4                In deciding whether any fact has been proved, you may

      5      consider the testimony of all the witnesses, regardless of who

      6      may have called them, and all of the exhibits received in

      7      evidence, regardless of who may have produced them.         If the

      8      proof fails to establish any essential part of a party's claim

      9      by the relevant burden of proof, you should find for the other

     10      party as to that claim.

     11                In this case, the Defendants assert the affirmative

     12      defense of abandonment.     Even if Plaintiff proves its claims by

     13      a preponderance of the evidence, Defendants can prevail in this

     14      case if they prove their affirmative defense by a preponderance

     15      of the evidence.    Also in this case, the counterDefendant Sprint

     16      asserts the affirmative defense of use and bonafide intent to

     17      continue use the Nextel trademark.       Even if counterPlaintiffs

     18      prove their counterclaim by a preponderance of the evidence,

     19      counterDefendant can prevail in this case if it proves an

     20      affirmative defense by a preponderance of the evidence.

     21                When more than one affirmative defense is involved, you

     22      should consider each one separately.

     23                I caution you that the Defendants and counterDefendants

     24      do not have to disprove the other party's claims.         But if the

     25      Defendant or counterDefendant raise an affirmative defense, the



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 58 of 100 58




      1      only way either can prevail on a specific defense is if it

      2      proves that defense by a preponderance of the evidence.

      3                  Sprint claims that the Defendants have infringed its

      4      registered Nextel trademark and sound mark under federal law,

      5      common law and the Florida Deceptive and Unfair Trade Practices

      6      Act.    Sprint also claims that Defendants have engaged in acts of

      7      unfair competition and false designation of origin under federal

      8      law.    The analysis for liability under each of these claims is

      9      the same.    To prove its claims, Sprint must prove the following

     10      facts by a preponderance of the evidence:

     11                  First, Sprint owns the Nextel trademark and the sound

     12      mark that are entitled to protection, and second the Defendants

     13      are using marks that infringe on Sprint's trademark or sound

     14      mark.

     15                  You are instructed and must accept as a fact that

     16      Sprint owns a federal registration for the Nextel trademark and

     17      a federal registration of the sound mark it seeks to protect in

     18      this action.

     19                  It is the Defendants' burden to prove that Sprint's

     20      trademarks are invalid.     I will instruct you in a little while

     21      on what the Defendants must prove to invalidate Sprint's

     22      registers.

     23                  Because Sprint owns federal registrations for the

     24      Nextel trademark, US Registration Number 18,843,244 and the

     25      sound mark, US Registration Number 5,047,282, the Defendants are



                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 59 of 100 59




      1      deemed to have knowledge of the registrations and of the rights

      2      claimed in the registrations.      This is known as constructive

      3      notice, and the Defendants cannot claim that they adopted their

      4      trademarks without knowledge of Sprint's trademarks.         In this

      5      case, Sprint enjoys nationwide constructive notice of rights

      6      dating back to the filing date of the applications which is May

      7      26, 1993 for Sprint's Nextel registration for devices and

      8      February 25, 2005 for Sprint's registration for the sound mark.

      9                you must next consider whether the Defendant infringed

     10      Sprint's Nextel trademark and the sound mark.        The test for

     11      infringement is whether the Defendants trademarks are likely to

     12      cause confusion with Sprint's Nextel trademark and the sound

     13      mark.   That is you must determine if the Defendants, without

     14      Sprint's consent, used the same or similar Nextel trademark and

     15      sound mark in connection with the sale of or the offer to sell

     16      goods in a manner that is likely to cause confusion among

     17      consumers as to the source, affiliation, approval or sponsorship

     18      of the goods.

     19                Source, origin, affiliation, approval or sponsorship

     20      means that the public believes that the Defendants' goods or

     21      services come from, are affiliated with, are approved by or are

     22      sponsored by Sprint.

     23                It is not necessary that the trademark used by the

     24      Defendant be exact copies of Sprint's Nextel trademark or sound

     25      mark.   Instead, Sprint must demonstrate, by a preponderance of



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 60 of 100 60




      1      the evidence, that the Defendants use of their trademarks are,

      2      when viewed in their entirety, likely to cause confusion as to

      3      the source, origin, affiliation, approval or sponsorship of the

      4      goods in question.

      5                Infringement.    Sprint claims that the Defendants have

      6      infringed its Nextel trademark and the sound mark.         For Sprint

      7      to succeed on these claims, you must find by a preponderance of

      8      the evidence that the Defendants:       one, used the Nextel

      9      trademark and the sound mark in connection with the sale or an

     10      offer to sell goods; two, used the Nextel trademark and the

     11      sound mark in commerce and three, used the Nextel trademark and

     12      the sound mark in a manner that is likely to A, cause confusion

     13      mistake or deception as to B, the source, origin, affiliation,

     14      approval or sponsorship of the Defendants' goods.

     15                Infringement, likelihood of confusion.        This is a seven

     16      factor test.    There are seven factors you can use to determine

     17      whether a likelihood of confusion exists.        No single factor or

     18      consideration controls, and Sprint is not required to prove all

     19      or even most of the factors are present in any particular case.

     20      You may also use factors other than these seven.         You should

     21      weigh all of the relevant evidence in determining whether a

     22      likelihood of confusion exists.

     23                One, type and strength of Sprint's trademarks.         The

     24      first factor is the type and strength of the trademarks.

     25      Trademark comes in different types or categories namely generic,



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 61 of 100 61




      1      descriptive, suggestive, arbitrary and fanciful or coined.          The

      2      type of a claimed trademark is relevant to the trademark

      3      strength.    Some trademarks are stronger than others.        The

      4      stronger the trademark, the more protection should be given to

      5      it.

      6                  I will now describe each type of trademark in the order

      7      of the general relative strength.

      8                  Generic, a claimed trademark is generic if it is the

      9      word, name, symbol, device or any combination thereof by which

     10      the good commonly is known.      An example of generic trademark is

     11      escalator for moving stairs.      Whether a claimed trademark is

     12      generic does not depend on the term itself, but on the use of

     13      the term.    A word may be generic of some thing but not others.

     14      For example, Ivory is generic for elephant tusks, but it is not

     15      generic for soap.     Whether a claimed trademark is a generic term

     16      is viewed from the perspective of a member of the public

     17      evaluating the trademark.      Claimed generic trademarks are not

     18      protectable as marks.      They cannot be registered with the US

     19      Patent and Trademark Office.

     20                  Descriptive.   A descriptive trademark only describes an

     21      ingredient, quality, characteristic, function, feature, purpose

     22      or use of the good provided under it.       An example of a

     23      descriptive trademark would be vision center for an eyeglass

     24      store.   Descriptive trademarks are eligible for registration

     25      with the US Patent and Trademark Office if the trademark has



                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 62 of 100 62




      1      acquired secondary meaning.      A trademark has acquired secondary

      2      meaning if the primary significance of the trademark in the

      3      minds of the consuming public is not the associated good itself,

      4      but instead the source or producer of the good.

      5                There are four factors you may use in determining

      6      whether the secondary meaning exists.       One, the length and

      7      nature of the trademark's use; two, the nature and extent of

      8      advertising and promotion of the trademark; three, the efforts

      9      of the trademark owner to promote a conscious connection between

     10      the trademark and its business, and four, the degree to which

     11      the public recognizes Sprint's good by the trademark.

     12                In this case, I have determined that Sprint's Nextel

     13      trademark is covered by an incontestable registration on the

     14      principle register.     I have also determined that Sprint's sound

     15      mark is registered on the principle register.        The effect of

     16      these determinations is that the registration is conclusive

     17      evidence that the trademark and sound mark are at least

     18      descriptive with secondary meaning.       You must accept that

     19      Sprint's Nextel trademark and Sprint's sound mark were at least

     20      descriptive and possess secondary meaning at the time Sprint

     21      applied for their respective registrations.

     22                Suggestive.    A suggestive trademark suggests, rather

     23      than describes, qualities of the underlying good.         If a

     24      consumer's imagination is necessary to make the connection

     25      between the trademark and the goods, then the trademark suggests



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                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 63 of 100 63




      1      the features of the good.     An example of a suggestive trademark

      2      is iceberg for a refrigerator.      Suggestive trademarks are

      3      eligible to be registered in the US Patent and Trademark Office

      4      without proof of secondary meaning.

      5                  Arbitrary and fanciful or coined.     An arbitrary

      6      trademark is a real word but has no logical relationship to the

      7      underlying goods.    An example of an arbitrary trademark is

      8      Domino for sugar.    A fanciful or coined trademark is a trademark

      9      created solely to function as a trademark, but which has no

     10      meaning beyond the trademark itself.       An example of a fanciful

     11      or coined trademark is Exxon for gasoline.        Arbitrary and

     12      fanciful or coined trademarks are eligible to be registered in

     13      the US Patent and Trademark Office without proof of secondary

     14      meaning.

     15                  Additional considerations relating to trademark

     16      strength.    While evaluating the strength of Sprint's trademarks,

     17      you may also consider the extent of any use by third parties of

     18      similar trademarks or sound marks.       Sprint's promotional

     19      expenditures, the volume of Sprint's sales under its Nextel

     20      trademark and the sound mark, and whether Sprint's registrations

     21      have achieved incontestable status.

     22                  The similarity of parties and trademarks.      In

     23      evaluating whether trademarks are similar, you may consider the

     24      overall impression that Sprint and Defendants' trademarks create

     25      including the sound, appearance and manner in which they are



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                                TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 64 of 100 64




      1      used.   You may look at the trademarks as a whole rather than

      2      simply comparing their individual features.

      3                Similarity of the parties' goods.       This factor

      4      considers not only the -- I'm sorry.       This factor considers not

      5      only whether the consuming public can readily distinguish

      6      between this parties' goods, but also whether the goods at issue

      7      are of a kind that the public attributes to a single source.

      8                Similarity of the parties' sales channels, distribution

      9      and customers.    This factor considers where, how and to who the

     10      parties' goods are sold.      Similarities increase the possibility

     11      of consumer confusion, mistake or deception.

     12                Similarity of the parties' advertising media.         This

     13      factor looks to each parties' method of advertising.         It is not

     14      a requirement that Sprint and the Defendants advertise in the

     15      same magazines, publications or other advertising outlet.          The

     16      issue is whether the parties use the same forums and media

     17      outlets to advertise leading to possible confusion.

     18                The Defendants' intent.     You may also consider whether

     19      the Defendants intended to infringe on Sprint's Nextel trademark

     20      and sound mark.    That is, did the Defendants adopt their

     21      trademarks with the intention of deriving a benefit from

     22      Sprint's reputation.     Additionally, if you determine that the

     23      Defendants intentionally ignored the potential for infringement,

     24      you may impute to the Defendants an intent to infringe.

     25                Actual confusion.     Because the presence of actual



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 65 of 100 65




      1      confusion usually is difficult to show, a finding of actual

      2      confusion is not required to find trademark infringement.

      3      Alternatively, the absence of actual confusion does not

      4      necessarily mean the Defendants are not liable for trademark

      5      infringement.

      6                The evidence of actual confusion of trademarks should

      7      be reasonably significant.      You should weigh the alleged actual

      8      confusion using the following factors:       One, the amount and

      9      duration of the confusion; two, the degree of familiarity the

     10      confused party has with the goods; three, the type of person

     11      complaining of the alleged actual confusion.        For example,

     12      whether that person is a customer or a noncustomer.         And four,

     13      the alleged number of people who are actually confused; for

     14      example, whether the confused person is an actual customer or

     15      someone else.

     16                If you find the Defendants have infringed Plaintiff's

     17      trademark or sound mark, you must next consider Defendants'

     18      affirmative defenses.

     19                If you find that -- trademarks remedies.        If you find

     20      that Sprint owns a valid trademark, that Defendants infringed it

     21      and they do not have a defense, you must consider whether and to

     22      what extent monetary relief should be awarded.

     23                Defendants' profits and calculations of profits.         You

     24      may make an award based on an accounting of Defendants' profits

     25      if you find that Defendants' conduct was willful and deliberate;



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 66 of 100 66




      1      two, Defendants were unjustly enriched, or an ward of

      2      Defendants' profits is necessary to defer -- to deter

      3      Defendants' future conduct.

      4                  A Defendant commits a willful violation of a trademark

      5      when that Defendant knowingly and purposefully capitalizes on

      6      and appropriates the goodwill of a Plaintiff.        Unjust enrichment

      7      occurs if the Defendant receives a benefit to which they are not

      8      entitled.    In determining Defendants profits, Sprint only is

      9      required to prove Defendants' gross sales.        Defendants may then

     10      prove the amount of sales made for reasons other than the

     11      infringement.    Defendants may also prove that their costs or

     12      other deductions, which they claim should be subtracted from the

     13      amount of their sales to determine their profits on such sales.

     14      Any costs or deductions the Defendants prove by a preponderance

     15      of the evidence are required to be subtracted from the sales

     16      attributable to the infringement and the difference is the

     17      amount that may be awarded to Sprint.

     18                  Nominal damages.   If you find that Defendant infringed

     19      Sprint's trademark but you do not find that Sprint sustained any

     20      actual damages or damages based on Defendants' profits, you may

     21      return a verdict for Sprint and award what are called nominal

     22      damages.    By nominal, I mean a small amount of damages that you,

     23      in your discretion, determine.

     24                  Sprint also claims that Defendants have committed

     25      counterfeiting by unlawfully using Sprint's Nextel trademark and



                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 67 of 100 67




      1      the sound mark in the sale, offer to sell, distribution or

      2      advertising of goods without Sprint's authorization.         To prove a

      3      claim for counterfeiting, Sprint must prove the following facts

      4      by a preponderance of the evidence:       one, the Nextel trademark

      5      and the sound mark used by the Defendants are copies that are

      6      identical or substantially indistinguishable from Sprint's

      7      Nextel trademark and the sound mark that are registered on the

      8      principle register of the United States Patent and Trademark

      9      Office; two, the Defendants' Nextel trademark and the sound mark

     10      were affixed without Sprint's permission; and three, the

     11      Defendants used Sprint's Nextel trademark and the sound mark in

     12      the sale, offering for sale, distribution or advertising of

     13      goods that are covered by Sprint's trademark registration.            If

     14      you find that Sprint proved that Defendants violated Sprint's

     15      trademark by counterfeiting, you must consider whether and to

     16      what extent money damages should be awarded.

     17                Sprint seeks what is known as an award of statutory

     18      damage.   Statutory damages are damages established by Congress

     19      in the Lanham Act.    The purpose of statutory damages is to

     20      compensate the trademark owner, penalize the counterfeiter and

     21      deter future trademark counterfeiting.       You may award statutory

     22      damages between 1,000 and 200,000 for each Nextel trademark and

     23      the sound mark that Sprint proves the Defendants used for each

     24      type of goods sold, offered for sale or distributed.         If you

     25      find that Sprint proved that the Defendants knew that the Nextel



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 68 of 100 68




      1      trademark and sound mark they used were counterfeits, you may

      2      award additional statutory damages.

      3                It is not necessary that the Defendants knew that the

      4      marks were registered by Sprint, only that the Defendants knew

      5      that the Nextel trademark and the sound mark were the same or

      6      substantially indistinguishable from Sprint's Nextel trademark

      7      and the sound mark.     If Sprint proves that the Defendants' use

      8      of the counterfeit Nextel trademark and the sound mark was

      9      willful, then you may, but are not required, to increase the

     10      statutory damage award to a maximum of $2 million per type of

     11      goods sold, offered for sale or distributed.

     12                Sprint also claims the Defendants' use of Nextel is

     13      likely to dilute the distinctiveness of Sprint's Nextel

     14      trademark.   To prove the claim of dilution -- of likely

     15      dilution, Sprint must prove the following facts preponderance of

     16      the evidence:    One, Sprint's Nextel trademark is famous and

     17      distinctive, either inherently or through acquired

     18      distinctiveness; two, the Defendants' use of their Nextel

     19      trademark began after Sprint's trademark became famous and

     20      three, the Defendants' use of their trademark is likely to cause

     21      dilution by blurring and/or dilution by tarnishment of Sprint's

     22      famous trademark.

     23                To prevail on a claim for likely dilution of its

     24      trademark, Sprint must prove by a preponderance of the evidence

     25      that its Nextel trademark was famous at the time of the



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 69 of 100 69




      1      Defendants' first use of the Defendants' trademarks.

      2                A claimed trademark is famous if its widely recognized

      3      by the general consuming public of the United States as the

      4      designation of the source of the owner's goods. In considering

      5      whether Sprint's Nextel trademark is famous, you may consider

      6      all relevant factors including the following:        One, the

      7      duration, extent and geographical reach of advertising and

      8      publicity of the trademark, whether advertised or publicized by

      9      Sprint or third parties; two, the amount, volume and geographic

     10      extent of sales of goods offered under Sprint's trademark;

     11      three, the extent of actual recognition of Sprint's trademark

     12      and four, whether Sprint's trademark was registered on the

     13      principal register of the United States Patent and Trademark

     14      Office.

     15                Sprint claims that the Defendants' use of the Nextel

     16      trademark is likely to blur Sprint's trademark.         Likelihood of

     17      dilution by blurring occurs when the similarity between the

     18      Defendants' Nextel trademark and Sprint's famous Nextel

     19      trademark impairs the distinctiveness of the famous trademark.

     20      In determining whether Defendants' Nextel trademark is likely to

     21      blur the distinctiveness of Sprint's Nextel trademark, you may

     22      consider all the relevant factors including the following:          One,

     23      the degree of similarity between the Defendant Nextel trademark

     24      and Sprint's Nextel trademark; two, the degree of the inherent

     25      or acquired distinctiveness of Sprint's Nextel trademark; three,



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 70 of 100 70




      1      the extent to which Sprint is engaging in substantially

      2      exclusive use of its Nextel trademark; four, the degree of

      3      recognition of Sprint's Nextel trademark; five, whether the

      4      Defendant intended to create an association with Sprint's Nextel

      5      trademark and six, any actual association between the

      6      Defendants' Nextel trademark and Sprint's Nextel trademark.

      7                Sprint is not required to prove actual or likely

      8      confusion or actual economic injury to prove that blurring is

      9      likely.

     10                Sprint also claims the Defendants' use of its Nextel

     11      trademark is likely to tarnish Sprint's Nextel trademark.

     12      Dilution by tarnishment occurs when a claimed trademark harms

     13      the reputation of a famous trademark.       Sprint is not required to

     14      prove actual or likely confusion or actual economic injury to

     15      prove that tarnishment is likely.       Sprint only needs to prove

     16      likely dilution by tarnishment to recover on its dilution claim.

     17                If you find the Defendants' use is likely to dilute

     18      Sprint's Nextel trademark and the Defendants do not have a

     19      defense to the likely dilution, you must consider whether and to

     20      what extent monetary relief should be awarded.        You may award

     21      Sprint monetary relief if:      One, the Defendants' marks were

     22      first used after October 6, 2006 and two, the Defendants'

     23      conduct was willful.

     24                Defendants profits and calculation of profits.         You may

     25      make an award based on an accounting of Defendants' profits as a



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 71 of 100 71




      1      result of Defendants' willful violation of Sprint's trademark

      2      rights.    A Defendant commits a willful violation of a trademark

      3      when the Defendant knowingly and purposefully capitalizes on and

      4      appropriates the goodwill of a Plaintiff.

      5                 You can only imagine how punchy I get reading all of

      6      these things at the same time.      I apologize.    Get a drink of

      7      water.    Excuse me.   But we only have a few pages to go.

      8                 In determining the Defendants' profits -- I don't

      9      remember if I read this little paragraph.        A Defendant commits a

     10      willful violation of a trademark when that Defendant knowingly

     11      and purposely capitalizes and appropriates the goodwill of a

     12      Plaintiff.    In determining the Defendants' profits, Sprint only

     13      is required to prove the Defendants' gross sales.         The Defendant

     14      then may prove the amount of sales made for reasons other than

     15      the infringement.

     16                 The Defendants also may prove their costs or other

     17      deductions which they claim should be subtracted from the amount

     18      of their sales to determine their profits on such sales.          Any

     19      cost or deductions that the Defendants prove by a preponderance

     20      of the evidence are required to be subtracted from the sales

     21      attributable to the infringement and the difference is the

     22      amount that may be awarded to Sprint.

     23                 Sprint also claims that the Defendants violated the

     24      federal law known as the Anti Cybersquatting Consumer Protection

     25      Act, which will be referred to as the ACPA.        Thank goodness.



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 72 of 100 72




      1      Through the Defendants' registration of domains including the

      2      elements Nextel including nextelworldwide.com, nextelisback.com,

      3      nextelmobileworldwide.com, getnextel.com and nextelmobile.com.

      4                To prove a violation of the ACPA, Sprint must prove the

      5      following facts by a preponderance of the evidence:         One, the

      6      Defendants have registered, trafficked in or used the subject

      7      domain matter -- domain name; two, Sprint's Nextel trademark was

      8      distinctiveness at the time of the Defendants' registrations of

      9      their domain names, and that those domain names are identical or

     10      confusingly similar to Sprint's trademark or Sprint's Nextel

     11      trademark, was famous at the time of the Defendants'

     12      registration of their domain names, and their domain names are

     13      identical to, confusingly similar to, or likely to dilute

     14      Sprint's trademark; and three, the Defendants have committed

     15      such acts with a bad faith intent to profit from Sprint's

     16      trademark.

     17                Dilution is the decrease in the power of a famous

     18      trademark to identify its goods.      Dilution does not require

     19      competition between the owner of a famous trademark and other

     20      parties, or a likelihood of confusion.       Sprint's trademark is

     21      famous if it is widely recognized by the general public as

     22      identifying its goods.

     23                The purpose of the ACPA is to protect trademarks

     24      against certain confusing uses of those trademarks in internet

     25      domain names.    A domain name is a designation that forms at



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 73 of 100 73




      1      least part of an address on the internet such as www.CNN.com,

      2      CNN for the CNN Television Network, and has been registered with

      3      or assigned by a domain name authority.

      4                The term "traffics in" means to engage in a transaction

      5      including, but not limited to sales, purchases, loans, pledges,

      6      licenses, exchange of currency and any other transfer for

      7      consideration or receipt in exchange for consideration.          For

      8      example, selling a domain name constitutes trafficking in that

      9      domain name.

     10                The Defendants are not liable for use of

     11      nextelworldwide.com, nextelisback.com,

     12      nextelmobileworldwide.com, getnextel.com or nextelmobile.com

     13      unless you find that the Defendants are the registrants or the

     14      registrant's authorized licensees.

     15                In determining whether the Defendants had a bad faith

     16      intent to profit from Sprint's trademarks, you may consider the

     17      following nine factors.     No single factor controls, and Sprint

     18      is not required to prove that all or even most of the factors

     19      are present in any particular case.       You may also use factors

     20      other than these nine to determine the Defendants' intent.

     21                One, whether the Defendant had trademark or other

     22      intellectual property rights in their domain names; two, the

     23      extent to which the Defendants' domain names consist of the

     24      Defendants' legal name or a name that is otherwise commonly used

     25      to identify the Defendants; three, the extent of the Defendants'



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 74 of 100 74




      1      prior use, if any, of their domain names in connection with the

      2      bonafide offering of any goods; four, the extent to which the

      3      Defendants used Sprint's trademark noncommercially or as a fair

      4      use in a site accessible under the domain names.         Fair use is

      5      the good faith descriptive use by the Defendants or term only to

      6      describe its goods and services and not a trademark.         Five,

      7      whether the Defendants intended to divert consumers from

      8      Sprint's online location to a site that is accessible under the

      9      Defendants domain name and could harm the goodwill represented

     10      by Sprint's trademark.     A site could harm the goodwill

     11      represented by Sprint's trademark if it A, is for commercial

     12      gain; B, intends to tarnish or disparage Sprint's trademark, or

     13      C, creates a likelihood of confusion as to the source,

     14      sponsorship, affiliation or endorsement of the site.         Six,

     15      whether Defendants offered to transfer, sell or otherwise assign

     16      their domain name to Plaintiff or any other third-party for

     17      financial gain without using or having an intent to use

     18      Defendants' domain name in the bonafide offerings of any goods,

     19      or whether Defendants prior conduct indicates a pattern of such

     20      conduct.   Seven, whether the Defendants provided material in

     21      misleading false contact information.       When applying for

     22      registration of their domain name, whether Defendants

     23      intentionally failed to maintain accurate contact information or

     24      whether Defendants' prior conduct indicates a pattern of such

     25      conduct.    Eight, whether Defendants registered or acquired



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 75 of 100 75




      1      multiple domain names which they know are identical or

      2      confusingly similar to trademarks of others that are distinctive

      3      at the time of registration of such domain names, or dilutive of

      4      famous trademarks of others that are famous at the time of

      5      registration of such domain names, without regard to the goods

      6      of the parties, and nine, the extent to which Sprint's trademark

      7      is distinctive and famous.

      8                Defenses.    The Defendants are not liable for -- I've

      9      only got four pages to go.      Bear with me.

     10                The Defendants are not liable for a violation of the

     11      ACPA if you find the Defendants have proven by a preponderance

     12      of the evidence that at the time the Defendants registered or

     13      otherwise obtained their domain names:       One, the Defendants had

     14      reasonable grounds to believe that the use of their domain names

     15      was a fair use or otherwise lawful, and two, the Defendants

     16      actually believed that the use of their domain name was fair use

     17      or otherwise lawful.

     18                Remedies.    If you find the Defendants violated the ACPA

     19      with respect to the domains nextelworldwide.com,

     20      nextelisback.com, nextelmobileworldwide.com, getnextel.com or

     21      nextelmobile.com, you should consider what damages to award to

     22      Sprint.   Sprint's remedies available under the ACPA are in

     23      addition to any other remedy otherwise applicable, even if they

     24      are duplicative of those made in other of Sprint's claims

     25      against the Defendants.



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 76 of 100 76




      1                 In this case, Sprint seeks an award of statutory

      2      damages.    Under the ACPA, statutory damages are punitive in

      3      nature, meaning they are designed to sanction or punish the

      4      Defendants for the Defendants' bad faith conduct, and to deter

      5      future violations of the ACPA.      You may award statutory damages

      6      between 1,000 and $100,000 for each domain name that Sprint

      7      proves the Defendants used.

      8                 If you find that Plaintiff has shown a likelihood of

      9      confusion, you must consider the Defendants' defense of

     10      abandonment.    Defendants claim that they're not liable because

     11      Sprint abandoned the Nextel trademark for devices.           Defendants

     12      have the burden of proving their defense to trademark

     13      infringement.

     14                 Abandonment of a trademark is a defense to a claim of

     15      infringement.    To prove abandonment, the Defendants must prove

     16      the following preponderance of the evidence:        Sprint

     17      discontinued the bonafide use of its trademark, and did so with

     18      the intent to not resume its use in the reasonably foreseeable

     19      future.    If you find that Sprint has not used the trademark for

     20      three consecutive years, you may presume that Sprint did not

     21      intend to resume use of the trademark, but Sprint can rebut that

     22      presumption by producing evidence that it intended to resume

     23      use.

     24                 I have instructed you that Sprint has registered

     25      trademarks that are presumed to be valid, and that Sprint enjoys



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 77 of 100 77




      1      nationwide priority of rights and nationwide constructive notice

      2      of its rights.     Therefore, you must consider Defendants' claims

      3      that Sprint's registration for the Nextel trademark, US

      4      Registration Number 1,884,244 is invalid because Sprint has

      5      abandoned this trademark.

      6                  Abandonment of a trademark is a ground for the

      7      cancellation of a trademark registration.        To prove abandonment,

      8      the Defendant must prove the following by a preponderance of the

      9      evidence:    One, Sprint discontinued the bonafide use of its

     10      trademark and did so with the intent to not resume its use in

     11      the reasonably foreseeable future.       If you find that Sprint has

     12      not used the trademark for three years, consecutive years, you

     13      may presume that Sprint did not intend to resume use of the

     14      trademark, but Sprint can rebut that presumption by producing

     15      evidence that it intended to resume the use.

     16                  Your verdict must be unanimous. In other words, you

     17      must all agree.

     18                  Your deliberations are secret and you'll never have to

     19      explain your verdict to anyone.

     20                  Each of you must decide the case for yourself, but only

     21      after fully considering the evidence with all the other jurors,

     22      so you must discuss the case with one another and try to reach

     23      an agreement.     While you're discussing the case, don't hesitate

     24      to reexamine your own opinion and change your mind if you become

     25      convinced that you were wrong, but don't give up your honest



                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 78 of 100 78




      1      beliefs just because others think differently or because you

      2      simply want to get the case over with.

      3                 Remember that in a very real way, you are the judges,

      4      judges of the facts.     Your only interest is to seek the truth

      5      from the evidence in the case.

      6                 When you get to the jury room, choose one of your

      7      members to act as foreperson.      The foreperson will direct your

      8      deliberations and speak for you in court.

      9          A verdict form has been prepared for your convenience.           This

     10      is the verdict form.     It is styled in the case.      United States

     11      District Court for the Southern District of Florida, Sprint

     12      Communications, LLC versus Stephen Calabrese, Nextel, Inc. doing

     13      business as Nextel Worldwide, RetroBrands USA LLC, Jeffrey

     14      Kaplan and Nextel Mobile Worldwide, Inc.

     15      Defendants/counterclaimants.      Verdict form. Again, a reminder

     16      we, the jury, unanimously -- shows you have to be unanimous --

     17      find the answers to the question propounded by the Court as

     18      follows:    One, did Plaintiff prove by a preponderance of the

     19      evidence that the Defendants are liable on Plaintiff's trademark

     20      counterfeiting claim with respect to the Nextel trademark ending

     21      in 244.    Defendants Stephen Calabrese, and a place to put an X

     22      or a checkmark, yes or no.      Defendant Nextel, Inc., yes or no.

     23      Defendant RetroBrands USA LLC, yes or no.        Defendant Jeffrey

     24      Kaplan, yes or no.     Defendant Nextel Mobile Worldwide, Inc., yes

     25      or no.



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 79 of 100 79




      1                This is important.     Right after that it says if you

      2      answered yes to any Defendant in Question 1, proceed to Question

      3      2.   If you answered no as to all of the Defendants in Question

      4      1, go to Question 3.

      5                So we'll go to Question 2.      Based on your finding that

      6      the Defendant is or multiple Defendants are liable on

      7      Plaintiff's claim for trademark counterfeiting of the Nextel

      8      trademark ending in 244, you shall award statutory damages.          If

      9      you find that at the time of the counterfeiting activity the

     10      Defendants did not know the trademarks used were counterfeits

     11      then you shall award statutory damages between 1,000 and 200,000

     12      per type of goods sold, offered for sale or distributed.          If you

     13      find that at the time of the counterfeiting, a Defendant or

     14      multiple Defendants knew that the trademarks they used were

     15      counterfeits, then you may award statutory damages to a maximum

     16      of $2 million per type of goods sold, offered for sale, or

     17      distributed.    What is the total amount of statutory damages that

     18      you award the Plaintiff.     Answer in the blank after a dollar

     19      sign.   You fill in the blank.

     20                Proceed to Question 3.     Did the Plaintiff prove by a

     21      preponderance of the evidence the Defendants are liable on

     22      Plaintiff's claims for trademark infringement under the Lanham

     23      Act, Florida Common Law or Florida Deceptive or Unfair Trade

     24      Practices Act with respect to the same trademark ending in 244.

     25      Same Defendants.    If you answered yes to any Defendant, proceed



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 80 of 100 80




      1      to Question 4.    If you answered no to all Defendants, proceed to

      2      Question 5.

      3                Question 4.     Based on your finding that the Defendant

      4      is or multiple Defendants are liable on Plaintiff's claims for

      5      trademark infringement under the Lanham Act, Florida Common Law

      6      or Florida Deceptive and Unfair Trade Practices Act with respect

      7      to that same trademark Number 244, what is the monetary amount

      8      you find should be awarded to Plaintiff.

      9                Proceed to Question 5.     Did the Plaintiff prove by a

     10      preponderance of the evidence that Defendants are liable on

     11      Sprint's claim for federal unfair competition and false

     12      designation of origin with respect to trademark 244.         Same five

     13      Defendants.   If you answered yes to any Defendant in Question 5,

     14      proceed to Question 6.     If you answered no, go to seven.

     15                Six, based on your finding that a Defendant is or

     16      multiple Defendants are liable on Plaintiff's claims for unfair

     17      competition, false designation, what is the monetary amount.

     18      A blank following a dollar sign.

     19                Number 7.     If you find that based on a preponderance of

     20      the evidence the Defendants' use of Nextel trademark is likely

     21      to dilute Plaintiff's Nextel Trademark 244.        Five Defendants.

     22      If you answered yes to any Defendant go to Question 8.

     23                Based on your finding that a Defendant is or multiple

     24      Defendants are liable on Plaintiff's claim for trademark

     25      dilution as to Nextel Trademark 244, what is the monetary



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 81 of 100 81




      1      amount.

      2                  Proceed to Question 9.     Do you find based on a

      3      preponderance of the evidence that Defendants are liable to

      4      Plaintiff on the claim of cybersquatting with respect to

      5      Trademark 244.     And then there's the five Defendants; Calabrese,

      6      Nextel, RetroBrands, Jeffrey Kaplan, Nextel Mobile Worldwide.

      7      If you answered yes to any Defendant, proceed to Question 10.

      8      If not, you go to 11.

      9                  Ten.   Based on your finding that the Defendant is or

     10      multiple Defendants are liable on the claim for cybersquatting,

     11      you shall award statutory damages within the range of minimum

     12      of 1,000 to maximum of 100,000 per domain.        What is the monetary

     13      amount you find should be awarded.

     14                  Proceed to Question 11.     Did the Plaintiff prove by a

     15      preponderance of the evidence that Defendants are liable on

     16      Plaintiff's trademark counterfeiting claim with respect to sound

     17      mark 282.    Same five Defendants.      If you answered yes to any

     18      Defendant, go to Question 12.        If not, you go to 13.

     19                  Question 12.   Based on your finding that the Defendant

     20      is or multiple Defendants are liable, shall award statutory

     21      damages.    If you find that at the time the Defendants did not

     22      know the trademarks they used were counterfeits, shall award

     23      statutory damages between 1,000 and 200,000.        If you find that

     24      they did know that the trademarks were counterfeits, then you

     25      may award statutory damages to a maximum of 2 million per type



                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 82 of 100 82




      1      of goods sold.

      2                Proceed to Question 13.     Did Sprint prove by a

      3      preponderance of the evidence Defendants are liable on

      4      Plaintiff's claim for trademark infringement under that 282, the

      5      sound mark.   Same five Defendants.      If you answered yes, based

      6      on your finding that a Defendant is or multiple Defendants are

      7      liable on Plaintiff's claim, what is the monetary amount you

      8      find should be awarded to Plaintiff.

      9                Proceed to Question 15.     Did Plaintiffs prove by a

     10      preponderance of the evidence Defendants liable on Plaintiff's

     11      claim for unfair competition and false designation of origin

     12      with respect to sound mark.      If you answered yes, based on your

     13      finding the Defendant is liable on Plaintiff's claim for unfair

     14      competition, what is the monetary amount.

     15                Then the last question is do you find that Defendant

     16      proved by a preponderance of the evidence that Plaintiff has

     17      abandoned trademark 244 by stopping all use with the intent not

     18      to resume use.    The answer yes or no.

     19                This ends your deliberations.      The foreperson must sign

     20      and date this verdict form.      Another reminder, so say we all,

     21      this blank day of April, today is the 18th day of April.

     22      Foreperson and date.

     23                You must take the verdict form with you to the jury

     24      room.   When you've all agreed on the verdict, your foreperson

     25      must fill in the form, sign it and date it.        Then you'll return



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 83 of 100 83




      1      to it the courtroom.

      2                  Very important.   If you wish to communicate with me at

      3      any time, please write down your message or question, knock on

      4      the door and give it to the court security officer.         The court

      5      security officer will bring it to me, and I'll respond as

      6      promptly as possible either in writing or by talking to you in

      7      the courtroom.     Please understand I might have talk to the

      8      lawyers and the parties before I respond to your question or

      9      message, so I hope you're patient as you await my response.

     10                  I don't want to get a note saying we're five to four or

     11      eight to one or whatever.     That's your business.      I don't want

     12      to know at any point how you stand.       Don't tell me how you voted

     13      at any time.     That type of information should remain in the jury

     14      room, not be shared by anyone, including me in your note or

     15      question.

     16                  Now I'm going to give this to the court security

     17      officer and I'm going to ask him to give it to one of you.

     18      That's not electing you as foreperson.       That's your business to

     19      do the election.     It is simply the way to get it into the jury

     20      room.

     21                  All right?   We'll be in recess until you call us back.

     22      Tell us you've reached a decision.       As I said, if you haven't

     23      reached a decision by quarter to 5 we're knocking off for the

     24      day all right?

     25                  (Jury out at 2:33 p.m.)



                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 84 of 100 84




      1                THE COURT:    Thank you for your patience.

      2                Okay.   We'll be in recess.     I would ask you to hang

      3      around for at least a half hour because sometimes you get

      4      questions real quickly.     After that, make sure that we can reach

      5      you, find you.    And we'll go from there and we'll see.       There is

      6      an attorney lounge on the 14th floor in that corner of the

      7      courthouse, it has a television and whatever else, but I don't

      8      know, just hang around in the attorney rooms or out in the

      9      lobby.   I'm not going to buy them anything to drink or -- it's

     10      their business, they got water in there.

     11                All right?    I'll be in my office.     Call me if you need

     12      me.

     13                MR. RIOPELLE:    Thank you, Your Honor.

     14                THE COURT:    Thank you.   I thought I was going to run

     15      out of voice before I ran out of instructions.

     16                (Recess at 2:35 p.m.)

     17                (Court called to order at 4:18 p.m.)

     18                THE COURT:    Please be seated.    All right.    We've

     19      received a note with a question, who understands it?

     20                MR. RIOPELLE:    I believe I understand it, Your Honor.

     21                THE COURT:    All right.   Then what's the answer?

     22                MR. RIOPELLE:    The answer is under the Nextel mark.

     23      Under the Nextel mark, there are three types of goods sold.

     24      Under the Nextel chirp, there's one type of good sold.

     25                THE COURT:    Do you agree?



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 85 of 100 85




      1                MR. SCHWARTZ:    No, we don't.

      2                THE COURT:    All right.    Explain to me why you don't

      3      agree and what you think the answer is.

      4                MR. SCHWARTZ:    We think it's just one type of good

      5      sold, cellular or two-way radio devices, one type.

      6                THE COURT:    All right.    What's the three?

      7                MR. RIOPELLE:    The three are mobile telephones, mobile

      8      radios and dispatch radios.      This is in evidence.     When I asked

      9      Mr. Kaplan do you agree that they sell mobile telephones, do you

     10      believe that they sell mobile radios, do you agree that they

     11      sell dispatch radios.     And if you want me to find in it the

     12      transcript --

     13                THE COURT:    No, I remember that.     Why isn't that the

     14      answer then?

     15                MR. SCHWARTZ:    Ms. Jobe testified that a device could

     16      be all of those things in one.       There's no -- that would be our

     17      answer.

     18                MR. RIOPELLE:    No, but -- so what we're talking about

     19      here are -- what he's talking about what Ms. Jobe was testifying

     20      about was what the goods listed on the trademark.         What we're

     21      talking about here on this question is the goods the Defendant

     22      was selling.    And the Defendant, if you remember, they put up in

     23      the video, they showed that they had the three different types

     24      of products and that's what matters there.        It's the three

     25      different types of products that the Defendant is selling for



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 86 of 100 86




      1      purposes of the damages here.

      2                THE COURT:    Offered for sale or distributed.        I think

      3      that is different.     I think Ms. Jobe was testifying about

      4      something totally different.        Why isn't that three?   I believe

      5      it is three.    My recollection of the evidence.

      6                MR. SCHWARTZ:    All I would say, Your Honor, is what I

      7      previously said is that a device could do all of those things.

      8      So it's one device, it's one handheld radio, it's a phone.

      9                THE COURT:    That's not what your client testified to.

     10      What your client testified --

     11                MR. SCHWARTZ:    Which client?     Which client, Your Honor?

     12      Because --

     13                THE COURT:    Kaplan, wasn't it?

     14                MR. SCHWARTZ:    Well, he has nothing to do with phones.

     15      He's just the licensor for RetroBrands.        Mr. Rivera and

     16      Mr. Calabrese are the ones who handle the sale of the mobile

     17      phones.

     18                THE COURT:    But he testified that -- the only evidence

     19      that we have is what he testified to, which is that there were

     20      three types of devices.

     21                MR. SCHWARTZ:    I would need to see that transcript.

     22                THE COURT:    I'm not going to pull a transcript up.

     23                MR. RIOPELLE:    I'm sorry.     I didn't mean to interrupt

     24      you.

     25                THE COURT:    Go ahead.



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 87 of 100 87




      1                MR. RIOPELLE:    In addition to the evidence of Mr.

      2      Kaplan testifying, we also have the video of the dealer in which

      3      the dealer had three different types of devices when he was

      4      explaining the kinds of devices the Defendant sells.         So there's

      5      -- it's evidence there in two different ways.

      6                MR. SCHWARTZ:    Your Honor, a You Tube video that's

      7      unauthenticated showing the demo of some cellular phones is

      8      hardly enough evidence to support where he's suggesting that

      9      it's three versus one or two.      That's -- you cannot go by that.

     10                THE COURT:    The evidence that's unrefuted, and it's in.

     11                MR. SCHWARTZ:    But who's to say that the device that

     12      they're showing -- they all look like cellular devices, and

     13      that's what the testimony is here.

     14                THE COURT:    I know, but in his effort to show what a

     15      big shot he was, he said three.      He said --

     16                MR. SCHWARTZ:    I think if it's important, you know, I

     17      would need to look at the transcript.

     18                THE COURT:    Well, we're not going to go look at

     19      transcripts.

     20                MR. SCHWARTZ:    Can I just confer with my clients for

     21      two minutes since --

     22                THE COURT:    Sure.   But not more than two minutes

     23      because I got to answer this now.

     24                (In-place recess)

     25                MR. SCHWARTZ:    Your Honor, Mr. Kaplan recollects that



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 88 of 100 88




      1      question and answer having to do with Sprint's phones and he

      2      believes that the models of these phones are all the same,

      3      push-to-talk.    And his understanding is there's just one kind,

      4      it just may look a little different model-wise, but they're just

      5      all push-to-talk and they all work on the SIM cards and they are

      6      all the same.

      7                  (Knock from within jury room)

      8                  THE COURT:   If they got another note, save the trip.

      9      Ask them if they have a note.      Yeah.    And tell them we'll get

     10      back to them as soon as we can.

     11                  COURT SECURITY OFFICER:     They want to know the answer,

     12      Your Honor.

     13                  THE COURT:   Okay.

     14                  COURT SECURITY OFFICER:     To the note.

     15                  THE COURT:   I want a verdict, so how does it work?

     16                  What was the third thing that you said that Mr. Kaplan

     17      said?   The push-to-talk, cellular phone and --

     18                  MR. SCHWARTZ:   They're all push-to-talk, and they all

     19      work off the SIM card.

     20                  THE COURT:   I know that.    I'm asking him what the third

     21      item was.

     22                  MR. RIOPELLE:   The three things, Your Honor, were

     23      mobile telephones, mobile radios, dispatch radios for the Nextel

     24      mark.   And then for the Nextel chirp, it was telecommunications

     25      services.



                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 89 of 100 89




      1                THE COURT:    Okay.   Mobile telephones, dispatch radios

      2      and what was the third one?

      3                MR. RIOPELLE:    Mobile radios.

      4                THE COURT:    Okay.   I propose to respond you must rely

      5      on your best recollection of the evidence.        The Plaintiff

      6      contends that Mr. Kaplan said that they sold mobile telephones,

      7      mobile radios and dispatch radios, and that a video was

      8      presented which said basically the same thing.        The Plaintiff

      9      says that the evidence was that there was one device that did

     10      all of these services.

     11                MR. RIOPELLE:    The only change I would have is the very

     12      last phrase is the Defendant says that it was only one type.

     13                THE COURT:    I thought I said the Defendant says that.

     14                MR. RIOPELLE:    I thought I heard Plaintiff, so I may

     15      have misheard.

     16                THE COURT:    The Defendant says that the evidence was

     17      that there was only one device that did all of these services.

     18                MR. RIOPELLE:    And then should we also say there's no

     19      dispute as to the chirp being one type?

     20                MR. SCHWARTZ:    There a dispute.

     21                MR. RIOPELLE:    Do you think there are more than the one

     22      I've said?

     23                MR. SCHWARTZ:    None of our stuff uses the chirp.

     24      That's our position.

     25                THE COURT:    Say again?



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 90 of 100 90




      1                  MR. SCHWARTZ:   None of our products use the chirp.

      2                  THE COURT:   Okay.

      3                  MR. SCHWARTZ:   So I'm not sure, you know --

      4                  THE COURT:   I don't think they asked about the chirp.

      5      Okay.     You got that, Allie?     Let me look at it when you type it

      6      up.     Tell them we're working on it.     No, don't tell them

      7      anything.     I propose to let them go in 15 minutes anyway.       I

      8      don't ordinarily call them in to release them.        I just let them

      9      go.     I would prepare another note to send in to them and tell

     10      them that at 4:45 they are to leave, and nobody will be here to

     11      supervise them, and that they are to return at 9:30 and they are

     12      reminded that they're not to begin deliberations until all of

     13      the jurors are present since they must do things together.             And

     14      that they should be back here at 9:30 so that all of them can

     15      start deliberating.

     16                  Got to get a faster typist here.     I'm just teasing you.

     17      Did you get the second one that I said?

     18                  LAW CLERK:   Uh-huh.    The Defendant says that the

     19      evidence --

     20                  THE COURT:   No, that they're to leave at 4:45.       They're

     21      to cease deliberating at 4:45 and return in the morning.

     22      They're reminded of all of the instructions concerning -- not

     23      discussing the case with anyone or doing any research on their

     24      own, and that they cannot begin deliberating until all members

     25      are present.     Also please give us the courtesy of printing the



                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 91 of 100 91




      1      foreman's name under the scribbled signature so we can know who

      2      it is.

      3                 LAW CLERK:   I have to add some stuff

      4                 COURTROOM DEPUTY:    It came out on two pages.

      5                 THE COURT:   All right.    We'll fix it.     Show it to the

      6      parties before you type it up in final form.          Take a look at it

      7      and pass it over to the Plaintiff also.       That's the only copy we

      8      have.    Oh, you have another copy?

      9                 COURTROOM DEPUTY:    It came out on two pages.

     10                 MR. SCHWARTZ:   Looks good to the defense.

     11                 THE COURT:   Okay.   All right.   Type it up so it comes

     12      out on one page please, and then give them the other note at the

     13      same time.    Let me read the other note to the lawyers.        Well,

     14      type it and then we'll see.      I wouldn't mind staying until 5:30,

     15      but after 5 it costs a tremendous amount of money to keep court

     16      security officers and everybody else in the courtroom.          So we

     17      don't stay after 5 if we don't absolutely have to, and I have to

     18      make arrangements ahead of time for that.

     19                 LAW CLERK:   The last sentence I changed Defendant to

     20      Defendants plural.

     21                 THE COURT:   We'll show them before we send it in, we'll

     22      show it to them.     If there's any typos, fix them.

     23                 (In-place recess)

     24                 THE COURT:   Show them this.

     25                 LAW CLERK:   Okay.



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 92 of 100 92




      1                  MR. SCHWARTZ:     Defense is fine with the revised.

      2                  MR. RIOPELLE:     Good for Plaintiffs, Your Honor.

      3                  THE COURT:   Well I made an addition, return at 9:30

      4      a.m. in the morning, otherwise we just told them sometime

      5      tomorrow.    But I interlineated between "return" and "in at 9:30

      6      a.m."   Here you go.     Give it to them right there.       Might as well

      7      wait and see what they do.         Here you go, Diane.     Put this in the

      8      file.   Make a copy of that other with the interlineation.           Make

      9      a Xerox if it comes out.         They may use it for toilet paper or

     10      something.

     11                  LAW CLERK:   Okay.     Hopefully not.

     12                  THE COURT:   Give me another copy of it so I can do the

     13      same interlineation.        Make nine copies of this and give it to

     14      them too.    Show them what we're going to give just so that they

     15      have them.

     16                  LAW CLERK:   Okay.

     17                  THE COURT:   Show them first.     Orlando, when she gets

     18      that done, there are going to be nine copies to give one to each

     19      of them.

     20                  (Knock from within jury room)

     21                  THE COURT:   Hold on.     They just knocked.

     22                  (In-place recess)

     23                  THE COURT:   The jury says they've reached a verdict.

     24      Any reason we can't bring them in to receive the verdict?

     25                  MR. SCHWARTZ:     Can we just get our clients, Your Honor?



                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 93 of 100 93




      1                 THE COURT:      Yes.   Hurry.     If you don't, we'll be done.

      2                 MR. SCHWARTZ:      They should get to hear it.

      3                 THE COURT:      Bring in the jury please.

      4                 COURT SECURITY OFFICER:          All rise for the jury.

      5                 (Jury in at 4:44 p.m.)

      6                 THE COURT:      All right.      Please be seated.    Mr. Foreman,

      7      I understand you've reached a verdict; is that correct?

      8                 JUROR:   Yes.

      9                 THE COURT:      Would you please give it to the court

     10      security officer so he can give it to the courtroom deputy who

     11      disappeared.     Okay.     Thank you.

     12                 All right.      Ms. Quinn, would you please publish the

     13      verdict.

     14                 COURTROOM DEPUTY:       Case number 18-60788-civil-Martinez,

     15      Sprint Communications, LLC versus Stephen Calabrese, Nextel,

     16      Incorporated, doing business as Nextel Worldwide, RetroBrands

     17      USA LLC, Jeffrey Kaplan and Nextel Mobile Worldwide,

     18      Incorporated.

     19                 Verdict form.      We, the jury, unanimously find the

     20      answer to the question propounded by the Court as follows:

     21                 Did Plaintiff prove by a preponderance of the evidence

     22      that Defendants are liable on Plaintiff's trademark

     23      counterfeiting claim and respect to Nextel Trademark Number

     24      1,884,224.     Stephen Calabrese, yes.        Nextel, yes.     Defendant

     25      RetroBrands USA LLC, yes.         Defendant Jeffrey Kaplan, yes.       And



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 94 of 100 94




      1      Defendant Nextel Mobile Worldwide Incorporated, yes.         Based on

      2      your finding that the Defendant is or multiple Defendants are

      3      liable on Plaintiff's claim for trademark counterfeiting of

      4      Nextel Trademark Number 1,884,244, you should award statutory

      5      damages.   If you find that at the time of counterfeiting

      6      activity the Defendants did not know that the trademarks they

      7      used were counterfeits, then you shall award statutory damages

      8      between 1,000 and 200,000 per type of goods sold, offered for

      9      sale or distributed.     If you find that at the time of

     10      counterfeiting activity a Defendant or multiple Defendants knew

     11      that the trademarks they used were counterfeits, then you may

     12      award statutory damages to the maximum of $2 million per type of

     13      goods sold, offered for sale or distributed.        What is the total

     14      amount of statutory damages you award to Plaintiff.         $2 million.

     15                 Question 3.   Did Plaintiff prove by a preponderance of

     16      the evidence that Defendants are liable on Plaintiff's claims

     17      for trademark infringement under the Lanham Act, Florida Common

     18      Law or Florida Deceptive and Unfair Trade Practices Act with

     19      respect to Nextel trademark Number 1,884,244?        Defendants Steve

     20      Calabrese, yes.    Defendant Nextel, Incorporated, yes.       Defendant

     21      RetroBrands USA LLC yes, Defendant Jeffrey Kaplan yes and

     22      Defendant Nextel Mobile Worldwide, Incorporated, yes.         Based on

     23      your findings that a Defendant is or multiple Defendants are

     24      liable on Plaintiff's claim for trademark infringement under the

     25      Lanham Act, Florida Common Law or Florida Deceptive and Unfair



                        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 95 of 100 95




      1      Trade Practices Act with respect to Nextel Trademark Number

      2      1,884,244, what is the monetary amount you should -- you find

      3      should be awarded to Plaintiff?      $2 million.

      4                Did Plaintiff prove by a preponderance of the evidence

      5      that the Defendants are liable on Sprint's claim for federal

      6      unfair compensation and false designation of origin with respect

      7      to Nextel Trademark Number 1,884,244?       Defendants Stephen

      8      Calabrese, yes.    Defendant Nextel, Incorporated, yes.       Defendant

      9      RetroBrands USA LLC, yes.     Defendant Jeffrey Kaplan, yes.

     10      Defendant Nextel Mobile Worldwide, Incorporated, yes.         Based on

     11      your findings that Defendant is or multiple Defendants are

     12      liable on Plaintiff's claim for unfair compensation and false

     13      designation of origin with respect to Nextel Trademark Number

     14      1,884,244, what is the monetary amount you find should be

     15      awarded to Sprint?    $2 million.

     16                Did you find that based on the preponderance of the

     17      evidence that Defendants' use of Nextel's trademark is likely to

     18      dilute Plaintiff Nextel Trademark number 1,884,244, Defendant

     19      Stephen Calabrese, yes.     Defendant Nextel, Incorporated, yes.

     20      Defendant RetroBrands USA LLC, yes.       Defendant Jeffrey Kaplan,

     21      yes.   Defendant Nextel Mobile Worldwide, Incorporated, yes.

     22      Based on your finding that a Defendant is or multiple Defendants

     23      are liable on Plaintiff's claim for trademark dilution under

     24      Nextel trademark 1,884,244, what is the monetary amount you

     25      should -- you find should be awarded to Plaintiff?         $400,000.



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                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 96 of 100 96




      1                  Did you find, based on the preponderance of the

      2      evidence, that Defendants are liable to Plaintiff on the claim

      3      of cybersquatting with respect to Nextel Trademark Number

      4      1,884,244, Stephen Calabrese, yes.       Nextel -- Defendant Nextel,

      5      Incorporated, yes.       Defendant RetroBrands USA LLC, yes.

      6      Defendant Jeffrey Kaplan, yes.       Defendant Nextel Mobile

      7      Worldwide Incorporated, yes.       Based on your findings that

      8      Defendant --

      9                  THE COURT:    How about shortcutting it.     Is there any

     10      objection to saying based on those findings what is the amount

     11      rather than having to read each line?

     12                  MR. RIOPELLE:    No objection, Your Honor.

     13                  MR. SCHWARTZ:    No objection.

     14                  COURTROOM DEPUTY:     Question Number 10.    What is the

     15      monetary amount you find should be awarded to Plaintiff,

     16      $500,000.

     17                  Question Number 11.     Did Plaintiff prove by a

     18      preponderance of the evidence that Defendants are liable on

     19      Plaintiff's trademark counterfeiting claim with respect to Sound

     20      Mark Number 5,037,282.       All Defendants, yes.

     21                  Question Number 12.     What is the amount of statutory

     22      damages you award to Plaintiff?       $2 million.

     23                  Question Number 13.     Did Sprint prove by a

     24      preponderance of the evidence that Defendants are liable on

     25      Plaintiff's claim for trademark infringement under the Lanham



                         PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 97 of 100 97




      1      Act, Florida Common Law or Florida Deceptive and Unfair Trade

      2      Practices Act with respect to Sound Mark Number 5,037,282.            Yes

      3      to all Defendants.

      4                Question Number 14, based on your finding that a

      5      Defendant is or multiple Defendants are liable or Plaintiff's

      6      claim for trademark infringement under the Lanham Act, Florida

      7      Common Law or Florida Deceptive and Unfair Trade Practices Act

      8      with respect to Sound Mark Number 5037282, what is the monetary

      9      amount you find should be awarded to Plaintiff?         $400,000.

     10                Did Plaintiff prove by a preponderance of the evidence

     11      Defendants are liable on Plaintiff's claim for unfair

     12      compensation and false designation of origin with respect to

     13      Sound Mark Number 5,037,282.        All Defendants, yes.   Based on

     14      your findings --

     15                THE COURT:    Based on that finding, what is the amount?

     16                COURTROOM DEPUTY:     $400,000.

     17                Did you find that Defendants have proved by a

     18      preponderance of the evidence that Plaintiff had abandoned

     19      Nextel Trademark Number 1,884,244 by stopping all use with its

     20      intent not to resume use?     No.

     21                So say we all, this 18th day of April, 2022.

     22      Foreperson Lino Alvarez Sanoja.

     23                THE COURT:    You got the names.     Please poll the jury.

     24      This will only take a second.

     25                COURTROOM DEPUTY:     Pedro Perez, is the verdict as read



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 98 of 100 98




      1      your verdict?

      2                THE COURT:      You have to answer audibly.

      3                JUROR:   Yes.

      4                COURTROOM DEPUTY:      Jacqueline Whyte, is the verdict as

      5      read your verdict?

      6                JUROR:   Yes.

      7                COURTROOM DEPUTY:      Lino Alvarez Sanoja, is the verdict

      8      as read your verdict?

      9                JUROR:   Yes.

     10                COURTROOM DEPUTY:      Daniel Acevedo, is the verdict as

     11      read your verdict?

     12                JUROR:   Yes.

     13                COURTROOM DEPUTY:      St. Philet Desilus, is the verdict

     14      as read your verdict?

     15                JUROR:   Yes.

     16                COURTROOM DEPUTY:      Alex Castano, is the verdict as read

     17      your verdict?

     18                JUROR:   Yes.

     19                COURTROOM DEPUTY:      Nache Miller-Thomas, is the verdict

     20      as read your verdict?

     21                JUROR:   Yes.

     22                COURTROOM DEPUTY:      Alexander Allen, is the verdict as

     23      read your verdict?

     24                JUROR:   Yes.

     25                COURTROOM DEPUTY:      And Maria Ruiz, is the verdict as



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 99 of 100 99




      1      read your verdict?

      2                JUROR:   Yes.

      3                COURTROOM DEPUTY:       The jurors ascede in the verdict,

      4      Judge.

      5                THE COURT:      All right.   I want to thank you very much.

      6      If you'll go back in the jury room and give me about one minute,

      7      I will be in to thank you personally.          Thank you very much.

      8                COURT SECURITY OFFICER:       All rise for the jury.

      9                (Jury dismissed at 4:56 p.m.)

     10                THE COURT:      Is there anything we need to do at this

     11      moment?

     12                MR. RIOPELLE:      Yes, Your Honor.     We would move for a

     13      permanent injunction at this point, and then I would like to be

     14      able to talk to you in chambers just for a minute afterwards.

     15                THE COURT:      Okay.   I got to go in and thank them first.

     16      And as for your injunction, file something and I'll sign it in a

     17      day or so.   I'll sign it tomorrow.      All right?

     18                Is there anything else we need to talk about right now?

     19                MR. KERNELL:      Yes, Your Honor.     We're going to move to

     20      set aside the verdict.      There's not substantial evidence in

     21      support of the verdict that the jury found.          We're also, again,

     22      objecting to the verdict form as read as we previously objected

     23      to it because it was unfairly prejudicial to the Defendants.

     24                THE COURT:      Okay.

     25                MR. KERNELL:      And then we're moving for judgment



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 0:18-cv-60788-JEM Document 326 Entered on FLSD Docket 05/11/2022 Page 100 of 100
                                     100




     1     notwithstanding the verdict.

     2                 THE COURT:   I understand.   You have time.    You can do

     3     that.   Well, I will deny your motion at this point.        If you want

     4     to file something in writing, how long do you need?         Couple

     5     days?

     6                 MR. SCHWARTZ:    I would say seven days, Your Honor.

     7                 THE COURT:   I'll give you until the end of the week.

     8     All right?    I'll give you three or four days to respond to it.

     9     All right?    And any other motions file them, let me know and

    10     I'll be in my chambers in five minutes, maybe.

    11                 MR. RIOPELLE:    Thank you, Your Honor.

    12                 THE COURT:   All right.

    13                 (PROCEEDINGS CONCLUDED AT 4:58 P.M.)

    14                           C E R T I F I C A T E
           I certify that the foregoing is a correct transcript from the
    15     record of proceedings in the above-entitled matter.

    16     4/18/2022                   /s/ Dawn M. Savino, R.P.R., C.R.R.
           Date                            DAWN M. SAVINO, R.P.R., C.R.R.
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